 Fill in this information to identify the case:

 Debtor name         Ponderay Newsprint Company

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)         20-01309
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 29, 2020                           X /s/ Myron L. Johnson
                                                                       Signature of individual signing on behalf of debtor

                                                                       Myron L. Johnson
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Ponderay Newsprint Company

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF WASHINGTON

 Case number (if known)               20-01309
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $      60,628,829.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $      18,415,691.36

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $      79,044,520.36


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      36,758,206.14


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$      21,134,201.28


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        57,892,407.42




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Ponderay Newsprint Company

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)         20-01309
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                   12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                Current value of
                                                                                                                                    debtor's interest
 2.        Cash on hand Prepaid Credit Cards                                                                                                      $7,500.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                          Last 4 digits of account
                                                                                                         number
                   Wells Fargo
                   Cash Deposit
                   January 7, 2010 Collateral Trust
                   Agreement in favor of Public Utility
                   District No. 1 of Pend Oreille County,
           3.1.    Washington                                               Cash Collateral              3500                              $10,000,000.00




           3.2.    Well Fargo                                               Operating                    6634                                $1,190,260.00




           3.3.    Wells Fargo                                              Lockbox                      6642                                  $105,436.00




           3.4.    Wells Fargo                                              A/P Disbursement             1529                                             $0.00




           3.5.    Capital One Bank                                         Deposit Account              8215                                    $50,000.00



 4.        Other cash equivalents (Identify all)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor           Ponderay Newsprint Company                                                   Case number (If known) 20-01309
                  Name



 5.        Total of Part 1.                                                                                                      $11,353,196.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Goods and Service Tax Deposit                                                                                       $24,550.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


           8.1.     Prepaid property insurance as of 2/29                                                                             $612,337.27



                    Estimated prepaid power costs Public Uitlity District No. 1 Pend Oreille County through
           8.2.     water year ending July 31, 2020                                                                                  $1,415,591.00




           8.3.     Prepaid waste water permit fee Washington State Department of Ecology                                               $10,017.09




 9.        Total of Part 2.                                                                                                       $2,062,495.36
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable Estimated
           11a. 90 days old or less:                         5,000,000.00    -                                0.00 = ....            $5,000,000.00
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                       $5,000,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 2
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 Debtor         Ponderay Newsprint Company                                                    Case number (If known) 20-01309
                Name


        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used      Current value of
                                                      physical inventory      debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Raw materials inventory                    5/30/2020                    $1,679,000.00     N/A                                    Unknown



 20.       Work in progress
           Work in progress
           inventory                                  5/30/2020                       $54,000.00     N/A                                    Unknown



 21.       Finished goods, including goods held for resale
           Finished good inventory                    5/20/2020                    $1,651,000.00     N/A                                    Unknown



 22.       Other inventory or supplies
           Other inventory or
           supplies                                                               $11,526,000.00     N/A                                    Unknown




 23.       Total of Part 5.                                                                                                                  $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                      0.00 Valuation method                          Current Value                           0.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Ponderay Newsprint Company                                                    Case number (If known) 20-01309
                Name

           All office furniture/fixtures/small
           appliances/computer equipment listed on
           personal property tax with Pend Oreille
           County Assessor                                                           $517,416.00     N/A                                    Unknown



 40.       Office fixtures
           Included in answer to Question 39.                                               $0.00                                                 $0.00



 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Included in answer to Question 39.                                               $0.00                                                 $0.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     1991 Ford F350
                     2005 Chev 3500 Quad Cab
                     1984 International
                     1993 4x4 F150 (gray)
                     [fully depreciated]
                     1997 4x4 General Use (white)
                     2005 Ford F250 Quad Cab
                     2007 Dodge Ram 1500
                     1989 Chev K2500 4x4                                                    $0.00    N/A                                    Unknown



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels
           48.1. Small aluminum rowboat for checking
                     water at water treatment plant.                                   Unknown                                              Unknown




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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                Name

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Machinery, equipment                                                    $9,838,439.00      N/A                                    Unknown



 51.       Total of Part 8.                                                                                                                   $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Net Book Values
                     2/29/2020
                     Land $682,903.37
                     Land Improvements
                     $59,696.12
                     Buildings $2,818,461



                     Assessed Values:
                     Land - $1449731.00
                     Structures -
                     $59179098.00                         Fee simple               $3,561,906.00      Assessed                        $60,628,829.00




 56.       Total of Part 9.                                                                                                         $60,628,829.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
             No
             Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 5
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 Debtor         Ponderay Newsprint Company                                                    Case number (If known) 20-01309
                Name

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            ponderaynewsprint.com                                                           $1.00                                           Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 6
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 Debtor          Ponderay Newsprint Company                                                                          Case number (If known) 20-01309
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                      $11,353,196.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                             $2,062,495.36

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $5,000,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $60,628,829.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $18,415,691.36             + 91b.           $60,628,829.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $79,044,520.36




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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 Fill in this information to identify the case:

 Debtor name          Ponderay Newsprint Company

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)              20-01309
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    American Agcredit, PCA                        Describe debtor's property that is subject to a lien              $4,507,338.57           $18,415,691.00
        Creditor's Name                               All assets of debtor.
        200 Concourse Boulevard
        Santa Rosa, CA 95402
        Creditor's mailing address                    Describe the lien
                                                      WA DOL UCC1 201018073004 Exp. 6/29/20205
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Applied Industrial Tech.
 2.2                                                                                                                        $15,000.00                Unknown
        Inc.                                          Describe debtor's property that is subject to a lien
        Creditor's Name                               Equipment consigned or shipped pursuant to
        One Applied Plaza - East                      Consignment Agreement dated December 23,
        36th                                          2002.
        Street & Euclid Avenue
        Cleveland, OH 44115
        Creditor's mailing address                    Describe the lien
                                                      WA DOL UCC 1 200316811615 Exp. 6/17/2023
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply

Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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              Name

         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



 2.3    Capital One NA                                Describe debtor's property that is subject to a lien                       $9,500.00            $50,000.00
        Creditor's Name
        P.O. Box 6002
        New Orleans, LA
        70160-0024
        Creditor's mailing address                    Describe the lien
                                                      2/18/2020 Assignment of Deposit Account
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.



        Public Uitlity District No. 1
 2.4                                                                                                                     $32,226,367.57          $10,000,000.00
        Pend                                          Describe debtor's property that is subject to a lien
        Creditor's Name                               Cash Collateral
        Oreille County F. Colin
        Willenbrock
        130 N. Washington
        Newport, WA 99156
        Creditor's mailing address                    Describe the lien
                                                      01/07/2010 Collateral Trust Agreement
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative
        priority.                                      Disputed


                                                                                                                               $36,758,206.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        14

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
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 Debtor       Ponderay Newsprint Company                                                Case number (if known)      20-01309
              Name

        Name and address                                                                        On which line in Part 1 did       Last 4 digits of
                                                                                                you enter the related creditor?   account number for
                                                                                                                                  this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Ponderay Newsprint Company

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)          20-01309
                                                                                                                                                    Check if this is an
                                                                                                                                                       amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                       12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
           ACKERMAN, JESSE A                                                  Contingent
           1005 E 2ND AVE                                                     Unliquidated
           POST FALLS, ID 83854                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
           ACKLEY, JACOB RYAN                                                 Contingent
           1862 PETERSON ROAD                                                 Unliquidated
           PRIEST RIVER, ID 83856                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $239.95
           ACTION AUTO SUPPLY INC                                             Contingent
           PO BOX 368                                                         Unliquidated
           PRIEST RIVER, ID 83856                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                           $0.00
           AHRENS, RICHARD L                                                  Contingent
           6021 LECLERC RD S                                                  Unliquidated
           NEWPORT, WA 99156                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $832.22
          AIRSAN CORP                                                         Contingent
          4554 WOOLWORTH AVE W                                                Unliquidated
          MILWAUKEE, WI 53218                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,397.27
          AKRE LOGGING                                                        Contingent
          PO BOX 1462                                                         Unliquidated
          PRIEST RIVER, ID 83856-1462                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $84,466.00
          ALBANY INTERNATIONAL                                                Contingent
          PO BOX 1939                                                         Unliquidated
          APPLETON, WI 54912-1939                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,185.00
          ALDATA SOFTWARE MANAGEMENT                                          Contingent
          855-2 ST SW SUITE 350                                               Unliquidated
          CALGARY, AB T2P 4K1                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ALEXANDER, MICHAEL W                                                Contingent
          33710 N. ELK-CHATTAROY RD                                           Unliquidated
          ELK, WA 99009                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,786.34
          ALLAN CRAMER LOGGING, INC                                           Contingent
          586 WOODLAND DRIVE                                                  Unliquidated
          SANDPOINT, ID 83864                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ALLEN, MICHAEL D                                                    Contingent
          360 MISTY RIDGE LANE                                                Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $264.77
          ALLIED ELECTRONICS INC                                              Contingent
          DBA ALLIED ELECTRONICS &                                            Unliquidated
          AUTOMATION 7151                                                     Disputed
          FORT WORTH, TX 76118
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ALLISON, JOHN DOUGLAS                                               Contingent
          12 SKOOKUM MEADOW DRIVE                                             Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,192.82
          ALLISON-BROCK INC                                                   Contingent
          PO BOX 8727                                                         Unliquidated
          ROANOKE, VA 24014                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          AMBURGEY, CHARLES C                                                 Contingent
          319 WATERTOWER LANE                                                 Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $3,464,410.00
          American Agcredit, PCA                                              Contingent
          200 Concourse Boulevard                                             Unliquidated
          Santa Rosa, CA 95402                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PPP loan used in compliance with requirements
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $58,702.26
          ANDRITZ FABRICS AND ROLLS IN                                        Contingent
          62669 COLLECTIONS CENTER DRIVE                                      Unliquidated
          CHICAGO, IL 60693-0669                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,338.08
          APPLIED INDUSTRIAL TECHNOLOG                                        Contingent
          301 FRANCHER RD N                                                   Unliquidated
          SPOKANE VALLEY, WA 99212                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $41,280.27
          APPLIED INDUSTRIAL TECHNOLOG                                        Contingent
          301 FANCHER RD N                                                    Unliquidated
          SPOKANE, WA 99212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,588.40
          Ardwin Freight                                                      Contingent
          2940 N. HOLLYWOOD WAY                                               Unliquidated
          Burbank, CA 91505                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ARMOUR, PAT                                                         Contingent
          3237 LOTZE LOOP                                                     Unliquidated
          COEUR D'ALENE, ID 83815                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $34,691.78
          Armstrong Transport Group, Inc.                                     Contingent
          PO BOX 560687                                                       Unliquidated
          Charlotte, NC 28256                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $71,310.72
          ASCENSUS SPECIALTIES LLC                                            Contingent
          2821 NORTHUP WAY SUITE 275                                          Unliquidated
          BELLEVUE, WA 98004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $143,771.50
          ASTEN JOHNSON DRYER FABRICS                                         Contingent
          4399 CORPORATE ROAD                                                 Unliquidated
          CHARLESTON, SC 29405                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $389.16
          AUSTIN KROGH                                                        Contingent
          6001 HIGHWAY 211                                                    Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          AUSTIN, DANNY E                                                     Contingent
          1165 N HARLEQUIN DRIVE                                              Unliquidated
          POST FALLS, ID 83854                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          AVERYT, ELAINE                                                      Contingent
          5513 LOLO LANE                                                      Unliquidated
          SPOKANE, WA 99217                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,090.21
          BAILEY LOGGING                                                      Contingent
          42198 D. SHORE ACRES ROAD                                           Unliquidated
          LOON LAKE, WA 99148                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BAKER, JON R                                                        Contingent
          394 COUNTY ROAD 733                                                 Unliquidated
          CALHOUN, TN 37309                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BARBER, RON FRANK                                                   Contingent
          281 POVERTY VALLEY ROAD                                             Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BARDWELL, BRAD                                                      Contingent
          22 OPEN SKIES                                                       Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BARNETT, DOUG                                                       Contingent
          715 E PEARL LANE                                                    Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,780.00
          BASF CORP                                                           Contingent
          100 CAMPUS DR                                                       Unliquidated
          FLORHAM PARK, NJ 07932                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BASNAW, RYAN                                                        Contingent
          323990 US 2                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BASNAW, TROY A                                                      Contingent
          323990 N HWY 2                                                      Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,200.00
          BATTERY SERVICES, INC                                               Contingent
          1235 GRAND BLVD S                                                   Unliquidated
          SPOKANE, WA 99202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,459.24
          BAY VALVE SERVICE INC                                               Contingent
          4385 133RD ST S                                                     Unliquidated
          SEATTLE, WA 98168                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,084.00
          BECHERINI SCALE CENTER INC                                          Contingent
          317 SPRAGUE AVE E                                                   Unliquidated
          SPOKANE, WA 99202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BECKS, ANTHONY J                                                    Contingent
          P O BOX 1166                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,652.42
          BECKWITH & KUFFEL                                                   Contingent
          5930 1ST AVE S                                                      Unliquidated
          SEATTLE, WA 98108                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BEHREND, TODD A                                                     Contingent
          536 QUAIL LOOP                                                      Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BEST, JASON S.                                                      Contingent
          53 BLACKTHORNE ROAD                                                 Unliquidated
          OLDTOWN, ID 83822                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BETZ, JASON ROBERT                                                  Contingent
          1351 CONKLIN MEADOWS RD                                             Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,671.00
          BIG SKY INDUSTRIAL                                                  Contingent
          9711 EUCLID RD W                                                    Unliquidated
          SPOKANE, WA 99204                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BIGLER, LAURELD                                                     Contingent
          2025 POWERS AVENUE                                                  Unliquidated
          LEWISTON, ID 83501                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,833.16
          Bison                                                               Contingent
          1001 Sherwin Road                                                   Unliquidated
          Winnipeg, MB R3H OT8                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BLAIR, DEBBIE G                                                     Contingent
          20160 SOUTHWOOD OAK DR                                              Unliquidated
          PORTER, TX 77365                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BLAU, LORI                                                          Contingent
          N 18001 DARTFORD DRIVE                                              Unliquidated
          COLBERT, WA 99005                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BLINN, PHILLIPP SCOTT                                               Contingent
          P O BOX 1052                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BLOODGOOD, JOHN F                                                   Contingent
          344 DEER VALLEY LANE                                                Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,317.63
          BNSF RAILWAY CO                                                     Contingent
          3110 SOLUTIONS CENTER                                               Unliquidated
          CHICAGO, IL 60677-3001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BOUCHER, WILLIAM HENRY                                              Contingent
          3425 E BUCKLEY                                                      Unliquidated
          MEAD, WA 99021                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BOURES, IRENE                                                       Contingent
          4565 LEBANON ROAD                                                   Unliquidated
          DANVILLE, KY 40422                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BOURES, KIPP                                                        Contingent
          4565 LEBANON ROAD                                                   Unliquidated
          DANVILLE, KY 40422                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRANDTNER, RYAN N                                                   Contingent
          23731 LECLERC ROAD NORTH                                            Unliquidated
          IONE, WA 99139                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRASHLER, JESSE RAY                                                 Contingent
          818 W VALLEY AVENUE                                                 Unliquidated
          CHEWELAH, WA 99109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRINK, JAMES                                                        Contingent
          11315 N GALAHAD                                                     Unliquidated
          SPOKANE, WA 99218                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRINK, RONALD                                                       Contingent
          30080 SAND STONE LANE                                               Unliquidated
          WAGRAM, NC 28396                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BROWN, BONNIE J                                                     Contingent
          7705 EAST EUCLID AVE.                                               Unliquidated
          SPOKANE VALLEY, WA 99212                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BROWN, MICHAEL J                                                    Contingent
          3102 DEETER RD                                                      Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRUMLEY, BENJAMIN DAVID                                             Contingent
          P O BOX 2017                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRUMLEY, DAVID J                                                    Contingent
          P O BOX 2017                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BRUMLEY, STANLEY R                                                  Contingent
          P O BOX 905                                                         Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,992.80
          BTG AMERICAS INC MUTEK                                              Contingent
          5085 AVALON RIDGE PKWY SUITE 100                                    Unliquidated
          NORCROSS, GA 30071                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $449,563.26
          BUCKMAN LABORATORIES                                                Contingent
          1256 MCLEAN BLVD N                                                  Unliquidated
          MEMPHIS, TN 38108                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $375,275.06
          Burlington Northern Sante Fe Rwy                                    Contingent
          3110 SOLUTIONS CENTER                                               Unliquidated
          Chicago, IL 60677-3001                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BUSH, KEVIN                                                         Contingent
          892 BAKER LAKE ROAD                                                 Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BUSWELL, CLINT MICHEAL                                              Contingent
          7035 COYOTE TRAIL ROAD                                              Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          BUTLER, TOYA MARIE                                                  Contingent
          243 GROVE ADDITION                                                  Unliquidated
          OLDTOWN, ID 83822                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $27,596.82
          BYOGON NORTHWEST, LLC                                               Contingent
          6200 CAMPUS DR NE.                                                  Unliquidated
          VANCOUVER, WA 98661                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $21,870.09
          C. H. Robinson                                                      Contingent
          SDS 12-0805                                                         Unliquidated
          Minneapolis, MN 55486-0001                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $21,699.98
          CAL CARGO                                                           Contingent
          C/O PACIFIC CARGO INC                                               Unliquidated
          2816 WEST EINTON AVE                                                Disputed
          HAYWARD, CA 94545
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CALDWELL, JOHN G                                                    Contingent
          422767 SR 20                                                        Unliquidated
          USK WA, WA 99180                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CAMPBELL, DARRIN J                                                  Contingent
          P O BOX 1345                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CAMPBELL, DEXTER                                                    Contingent
          EAST 124 CIRCLE DRIVE                                               Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CAMPBELL, SCOTT K                                                   Contingent
          2017 FREEMAN LK RD                                                  Unliquidated
          OLDTOWN, ID 83822                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,743.76
          CAROTHERS & SON LTD                                                 Contingent
          PO BOX 2709                                                         Unliquidated
          EUGENE, OR 97402                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CARPENTER, WALTER E                                                 Contingent
          P.O. BOX 472                                                        Unliquidated
          CHEWELAH, WA 99109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,974.00
          CASCADE AUTOMATION INC                                              Contingent
          1702 28TH STREET                                                    Unliquidated
          SPRINGFIELD, OR 97477                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,171.78
          CASCADE COLUMBIA DISTRIBUTIO                                        Contingent
          6308 SHARP AVE E                                                    Unliquidated
          SPOKANE, WA 99212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $126,241.33
          CASCADES SONOCO INC                                                 Contingent
          4320 95TH ST SW SUITE C                                             Unliquidated
          TACOMA, WA 98499                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CASKEY, ROBERT G                                                    Contingent
          514 W. QUAIL LOOP ROAD                                              Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,000.00
          CASSIDY PAPER LLC                                                   Contingent
          27 PERCHERON DR                                                     Unliquidated
          MONROE, CT 06468                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,094.75
          CH MURPHY/CLARK ULLMAN INC                                          Contingent
          5565 DOLPHIN ST N                                                   Unliquidated
          PORTLAND, OR 97217-7631                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CHILDERS, CHRISTOPHER LEE                                           Contingent
          5101 N MCINTOSH CT                                                  Unliquidated
          SPOKANE, WA 99206                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,630.14
          CHITWOOD ENTERPRISES                                                Contingent
          PO BOX 152                                                          Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CHITWOOD, BOB G                                                     Contingent
          P O BOX 1078                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CHRISTOFFERSON, DAVID R                                             Contingent
          1783 EAST SEQUIM BAY RD                                             Unliquidated
          SEQUIM, WA 98382                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $857.70
          CINTAS CORP #606                                                    Contingent
          918 FIFTH AVE N                                                     Unliquidated
          YAKIMA, WA 98902-1412                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $99,355.81
          CITY SERVICE VALCON                                                 Contingent
          PO BOX 1                                                            Unliquidated
          KALISPELL, MT 59903-0001                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CLARK, ARCHIE                                                       Contingent
          1598 RICKEY CANYON RD                                               Unliquidated
          KETTLE FALLS, WA 99141                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CLARK, M'LISS M                                                     Contingent
          3851 LARCH ROAD                                                     Unliquidated
          LOON LAKE, WA 99148                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CLIFNER, KENNETH                                                    Contingent
          P O BOX 202                                                         Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,876.02
          COEUR D'ALENES CO                                                   Contingent
          C/O STOCK STEEL                                                     Unliquidated
          PO BOX 2610                                                         Disputed
          SPOKANE, WA 99220-2610
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,723.86
          COLUMBIA ELECTRIC SUPPLY CO                                         Contingent
          203 AUGUSTA E                                                       Unliquidated
          SPOKANE, WA 99207                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $16,542.35
          COLUMBIA INTERNATIONAL FORES                                        Contingent
          500 EAST BROADWAY SUITE 340                                         Unliquidated
          VANCOUVER, WA 98660                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,512.17
          COMPLETE FOREST                                                     Contingent
          PO BOX 268                                                          Unliquidated
          BLANCHARD, ID 83804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $30,022.80
          COMPLETE PACKAGING SYSTEMS I                                        Contingent
          1375 HOPKINS STREET                                                 Unliquidated
          WHITBY, ON L1N 5C2                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,823.14
          CONSTELLATION HOMEBUILDER SY                                        Contingent
          DBA EDIWISE 690 DORVAL DRIVE                                        Unliquidated
          SUITE 425                                                           Disputed
          OAKVILLE, ON L6K 3W7
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,751.81
          Contract; Transportation Systems Co                                 Contingent
          PO BOX 277544                                                       Unliquidated
          Atlanta, GA 30384-7544                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          COON, CHRIS M                                                       Contingent
          201 SOUTH FEA STREET                                                Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          COON, ELIZABETH                                                     Contingent
          201 LAURELHURST DRIVE                                               Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          COPELAND, JACOB J                                                   Contingent
          503 S CARNAHAN ROAD                                                 Unliquidated
          SPOKANE VALLEY, WA 99212                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CORDES, BARBARA A                                                   Contingent
          P.O. BOX 141                                                        Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $8.60
          COUNTRY LANE INC                                                    Contingent
          PO BOX 128                                                          Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          COX, BOB M                                                          Contingent
          157 COUGAR RIDGE LANE                                               Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          COX, TRACY A                                                        Contingent
          157 COUGAR RIDGE LANE                                               Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CRADDICK, MICHAEL                                                   Contingent
          P.O. BOX 588                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CRAMER, ZACHARY STEVENS                                             Contingent
          506 N QUAIL AVE UNIT B                                              Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CRAWFORD, ANDREW CORTNEY                                            Contingent
          582 HWY 211                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CRAWFORD, KRISTOPHER A                                              Contingent
          231 S SCOTT AVENUE                                                  Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CRAWFORD, SHANDA                                                    Contingent
          1131 SOUTH BELVEDERE AVE                                            Unliquidated
          GASTONIA, NC 28054                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $169,186.68
          Crete Carrier Corporation                                           Contingent
          PO BOX 852634                                                       Unliquidated
          Lincoln, NE 68501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,387.45
          CRS DATA SOLUTIONS                                                  Contingent
          3315 26TH NW                                                        Unliquidated
          PORTLAND, OR 97210                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $49,490.00
          CSS INTERNATIONAL, INC.                                             Contingent
          115 RIVER LANDING DR                                                Unliquidated
          CHARLESTON, SC 29492                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CUMSTON, NATHANAEL JAMES                                            Contingent
          65 TROUDT CT                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CUNNINGHAM, JEFFREY                                                 Contingent
          391 LONE PINE ROAD                                                  Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CUNNINGHAM, RAWLEY J                                                Contingent
          535 SPRING HAVEN DRIVE                                              Unliquidated
          OLDTOWN, ID 83822                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CUPP, JAMES                                                         Contingent
          P O BOX 472                                                         Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CUPP, TOMMY D                                                       Contingent
          1219 E SLATON LANE                                                  Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,980.66
          CUTLER LOGGING                                                      Contingent
          PO BOX 184                                                          Unliquidated
          ATHOL, ID 83801                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          CUTSHALL, MARK S                                                    Contingent
          1681 DANFORTH ROAD                                                  Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $609.90
          DALE HIEBERT                                                        Contingent
          4014 E BRIDGES ROAD                                                 Unliquidated
          ELK, WA 99009                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DAMON, MICHAEL F                                                    Contingent
          551 QUAIL LOOP                                                      Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DAVAZ, PAMELA J                                                     Contingent
          P. O. BOX 1302                                                      Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DAVIS, MARC                                                         Contingent
          P O BOX 990                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DAVIS, TIM                                                          Contingent
          34515 FINDLEY ROAD                                                  Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,154.34
          DAWSON TRUCKING, INC.                                               Contingent
          ATTN: KAY DAWSON PO BOX 159                                         Unliquidated
          VALLEY, WA 99181                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DEAN, JARED ALLEN                                                   Contingent
          5321 SPRING VALLEY ROAD                                             Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $738.24
          DELTA INDUSTRIES INC                                                Contingent
          16142 MASON ST NE                                                   Unliquidated
          PORTLAND, OR 97230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DEMENT, ROBERT WAYNE                                                Contingent
          59W LINCOLN AVENUE                                                  Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DEOBALD, BARRY T                                                    Contingent
          7904 NORTH SICILIA CT                                               Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,265.00
          DEVRIES BUSINESS RECORDS MGM                                        Contingent
          601 E PACIFIC                                                       Unliquidated
          SPOKANE, WA 99201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DIMICK, MATTHEW A                                                   Contingent
          2060 ELK LANE                                                       Unliquidated
          KENDRIK, ID 83537                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DITTL, RONALD                                                       Contingent
          22116 62ND AVE EAST                                                 Unliquidated
          SPANAWAY, WA 98387                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,247.00
          DS SERVICES OF AMERICA, INC.                                        Contingent
          PO BOX 660579                                                       Unliquidated
          DALLAS, TX 75266-0579                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DUGGER, CLIFFORD J                                                  Contingent
          4701 CAMDEN ROAD                                                    Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          DURY, LOREN W                                                       Contingent
          511 DURY LANE                                                       Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $834.40
          DYKMAN ELECTRICAL INC                                               Contingent
          5711 SHARP E                                                        Unliquidated
          SPOKANE, WA 99212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ECKHOFF, STEVE                                                      Contingent
          11662 W ARLEN STREET                                                Unliquidated
          BOISE, ID 83713                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,493.46
          ECONOTECH SERVICES LTD                                              Contingent
          852 DERWENT WAY                                                     Unliquidated
          DELTA, BC V3M 5R1                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          EDWARDS, STEVEN H                                                   Contingent
          E 4720 LAUREL ROAD                                                  Unliquidated
          CHATTAROY, WA 99003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,178.80
          ELJAY OIL CO INC                                                    Contingent
          7815 VALLEYWAY                                                      Unliquidated
          SPOKANE, WA 99212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ELLSWORTH, CHARLES GUY                                              Contingent
          2595 UNITED COPPER MINE ROAD                                        Unliquidated
          CHEWELAH, WA 99109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $551.66
          ELMER BROTHERS                                                      Contingent
          2022 ELMERS LOOP ROAD                                               Unliquidated
          NEWPORT, ID 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ENGEN, BJARNE K                                                     Contingent
          241 TWIN OAKS LP                                                    Unliquidated
          WINSTON, OR 97496                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $452.72
          ESKO INDUSTRIES LTD                                                 Contingent
          3480 GARDNER CRT                                                    Unliquidated
          BURNABY, BC V5G 3K4                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $495.21
          EVAN HANEY                                                          Contingent
          12821 E. BRIDGES RD                                                 Unliquidated
          ELK, WA 99009                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          EVERTS, MICHAEL ANTHONY                                             Contingent
          3906 E VULCAN RD                                                    Unliquidated
          MEAD, WA 99021                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $23,487.50
          EXBABYLON LLC                                                       Contingent
          204 W. WALNUT STREET                                                Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,195.92
          EXCESS DISPOSAL SERVICE INC                                         Contingent
          2654 HWY 2 E                                                        Unliquidated
          OLDTOWN, ID 83822                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $294.00
          EXCESS PORTABLE TOILETS, LLC                                        Contingent
          PO BOX 2242                                                         Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FAIRCHILD, WILLIAM R                                                Contingent
          8676 W SAWTOOTH ST                                                  Unliquidated
          RATHDRUM, ID 83538                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FAIRCHILD, WILLIAM ROBERT                                           Contingent
          7010 N COUNTRY HOMES BLVD                                           Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FARIES, DEANNE H                                                    Contingent
          4112 PUENTE WAY                                                     Unliquidated
          SACRAMENTO, CA 95864                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FARIES, III CHARLES                                                 Contingent
          PO BOX 236                                                          Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FARMIN, DANIEL                                                      Contingent
          P.O. BOX 250                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FARMIN, ROBERT J                                                    Contingent
          P O BOX 1206                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,251.69
          FAST WAY FREIGHT MANAGEMENT,                                        Contingent
          1001 N. HAVANA ST                                                   Unliquidated
          SPOKANE, WA 99202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,262.39
          FAST WAY INC                                                        Contingent
          PO BOX 40142                                                        Unliquidated
          SPOKANE, WA 99220                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $251.96
          FEDEX                                                               Contingent
          PO BOX 94515                                                        Unliquidated
          PALATINE, IL 60094-4515                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $54.82
          FERGUSON ENTERPRISES INC                                            Contingent
          4004 BOONE E                                                        Unliquidated
          SPOKANE, WA 99202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,273.34
          FERGUSON FORESTRY SOLUTIONS                                         Contingent
          938 B Vanesse Rd                                                    Unliquidated
          Kettle Falls, WA 99141                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Fidelity Investments                                                Contingent
          Attn: Julie Sachs, FSA, EA                                          Unliquidated
          200 California St., Ste. 1200                                       Disputed
          San Francisco, CA 94111
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $781.06
          FIELD INSTRUMENTS & CONTROLS                                        Contingent
          2110 EMILY LANE E                                                   Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FILLER, TIM P                                                       Contingent
          311 LECLERC CREEK RD                                                Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $963.45
          FINE LINE DIV. OF PCE PACIFI                                        Contingent
          22011 26TH AVENUE SE                                                Unliquidated
          BOTHELL, WA 98021-4900                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,171.25
          FISH BAY RESOURCES                                                  Contingent
          2473 TIGER LN                                                       Unliquidated
          RICHLAND, WA 99352                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,036.50
          FISHER SCIENTIFIC                                                   Contingent
          9999 VETERANS MEM DR                                                Unliquidated
          HOUSTON, TX 77038                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,522.72
          FORESIGHT FORESTRY                                                  Contingent
          PO BOX 108                                                          Unliquidated
          PONDERAY, ID 83852                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FOUST, MICHAEL                                                      Contingent
          9919 NW 15TH AVENUE                                                 Unliquidated
          VANCOUVER, WA 98685-5130                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FOXX, NORMA J                                                       Contingent
          3072 POPSIE DR                                                      Unliquidated
          BELVIDERE, IL 61008                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,026.23
          FREEPORT LOGISTICS INC                                              Contingent
          431 N 47TH AVE                                                      Unliquidated
          PHOENIX, AZ 85043                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $782.15
          FROST ENGINEERING SERVICE CO                                        Contingent
          21000 86TH AVE SE                                                   Unliquidated
          SNOHOMISH, WA 98296                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          FULTON, RUSSEL HUGH                                                 Contingent
          BOX 1023                                                            Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GANGL, GARY E                                                       Contingent
          3420 LEXINGTON WAY                                                  Unliquidated
          WEST RICHLAND, WA 99353                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GARNER, RICHARD P                                                   Contingent
          3295 VIEWRIDGE LANE                                                 Unliquidated
          VALLEY, WA 99181                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GARRETT, THOMAS                                                     Contingent
          182 JADE DRIVE                                                      Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GAUVIN, JEFFREY P                                                   Contingent
          P O BOX 1095                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GEARY, NANCY K                                                      Contingent
          160 WENAS VIEW DR                                                   Unliquidated
          SELAH, WA 98942-9101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,000.00
          GEMSTATE PARTNERS                                                   Contingent
          PO BOX 2658                                                         Unliquidated
          SANDPOINT, ID 83864                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,841.73
          GENERAL MONITORS                                                    Contingent
          26776 SIMPATICA CIRCLE                                              Unliquidated
          LAKE FOREST, CA 92630                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GEORGE, RONALD CHARLES                                              Contingent
          88 HERBS DRIVE                                                      Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GIFFORD, KAREN                                                      Contingent
          1295 E DOBERMAN STREET                                              Unliquidated
          MERIDIAN, ID 83642                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GIRNUS, GARCY L                                                     Contingent
          8373 N AINSWORTH DR                                                 Unliquidated
          HAYDEN, ID 83835                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GOULET, TRACY P                                                     Contingent
          342 DIAMOND DRIVE                                                   Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GRACE, MICHAEL                                                      Contingent
          65 HARFORD PL                                                       Unliquidated
          UPLAND, CA 91786-2708                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GRACE, ROBERT J                                                     Contingent
          17323 N GOLDEN DRIVE                                                Unliquidated
          COLBERT, WA 99005                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $24.83
          GRAINGER                                                            Contingent
          5706 BROADWAY AVE E                                                 Unliquidated
          SPOKANE, WA 99206                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $762.00
          GRATING PACIFIC LLC                                                 Contingent
          2775 FRONT ST N                                                     Unliquidated
          WOODBURN, OR 97071                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $419.02
          GRAYWOLF TIMBERS LLC                                                Contingent
          ATTN: KYLE GRAY                                                     Unliquidated
          90344 SUMMIT VIEW DR                                                Disputed
          KENNIWICK, WA 99338
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GREEN, GINA                                                         Contingent
          #42 5370 S. DESERT DAWN DR                                          Unliquidated
          GOLD CANYON, AZ 85118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GREEN, MADELINE R                                                   Contingent
          519. S STATE AVE                                                    Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,660.02
          GREG JOHNSON LOGGING, LLC                                           Contingent
          PO BOX 1662                                                         Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          GUENTHER, DONALD                                                    Contingent
          1886 SUNSET DR.                                                     Unliquidated
          WHITEHALL, PA 18052                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HAAS, DIANE L                                                       Contingent
          13202 SR 211                                                        Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $280.87
          HACH CO                                                             Contingent
          2207 COLLECTIONS CENTER DR.                                         Unliquidated
          CHICAGO, IL 60693                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HALEY, DAVID L                                                      Contingent
          6092 COYOTE TRAIL ROAD                                              Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HANEY, STAN                                                         Contingent
          1652 BOX CANYON ROAD                                                Unliquidated
          IONE, WA 99139                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HANEY, TERRY                                                        Contingent
          505 S WASHINGTON                                                    Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HANSON, GARTH MICHAEL                                               Contingent
          484 DAVAZ CARLTON ROAD                                              Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HANSON, TRAVIS WARREN                                               Contingent
          102 DUNN                                                            Unliquidated
          ELK, WA 99009                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HANTZ, MICHAEL LEE                                                  Contingent
          PO BOX 1101                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HARDWICK, SHAUN J                                                   Contingent
          402 SICLEY ROAD                                                     Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HARGROVE, AUSTIN CHANCE                                             Contingent
          506 N QUAIL AVE SPACE D                                             Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HARGROVE, RUSTY R                                                   Contingent
          506 N.QUAIL AVE                                                     Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HATTEN, RICHARD                                                     Contingent
          8608 WEST CLEARWATER PLACE                                          Unliquidated
          KENNEWICK, WA 99336                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,474.72
          Heartland Express                                                   Contingent
          901 N. KASAS AVE                                                    Unliquidated
          North Liberty, IA 52317                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HEGEL, CHARITY                                                      Contingent
          915 MAIN STREET, UNIT B                                             Unliquidated
          SANDPOINT, ID 83864                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HEGEL, DUSTIN                                                       Contingent
          10114 N COCHRAN RD                                                  Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HEINE, FREDRICK HANS                                                Contingent
          801 HOOP LOOP ROAD                                                  Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HENDERSHOTT, JOEL D                                                 Contingent
          6511 E. VALLEY LANE                                                 Unliquidated
          ELK, WA 99009                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HENDERSHOTT, KYLE CHARLES                                           Contingent
          4911 COYOTE TRAIL ROAD                                              Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HENDERSHOTT, NORMAN DALE                                            Contingent
          P O BOX 291                                                         Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HENDERSHOTT, TROY M                                                 Contingent
          P O BOX 383                                                         Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HENDRICKSON, JEFFREY THOMAS                                         Contingent
          321734 NORTH HIGHWAY 2                                              Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HENDRIX, STARTSUN                                                   Contingent
          1718 E LINCOLN ROAD, APT B305                                       Unliquidated
          SPOKANE, WA 99217                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HENRY, ROGER L                                                      Contingent
          1111 W. MONTGOMERY RD                                               Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HEPKER, CAL W                                                       Contingent
          BOX 942,                                                            Unliquidated
          11616 NORTH MARKET STREET                                           Disputed
          MEAD, WA 99021
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $31,378.92
          HEXACOMB CORPORATION                                                Contingent
          2820 B ST NW SUITE 109                                              Unliquidated
          AUBURN, WA 98001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HOFACKER, BARBARA A                                                 Contingent
          W 7540 COUNTY ROAD JJ                                               Unliquidated
          HORTONVILLE, WI 54944                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HOFFMAN, MAVIS                                                      Contingent
          242 QUARTZITE LOOP                                                  Unliquidated
          CHEWELAH, WA 99109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HOFSTEE, BRANDON J                                                  Contingent
          P O BOX 475                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HOGG,PAT                                                            Contingent
          1115 INDIAN CREST DRIVE                                             Unliquidated
          INDIAN SPRINGS, AL 34124                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HOHNHORST, MARTIN LEO                                               Contingent
          3807 WEST JAY STREET                                                Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HOLMES, ROBIN                                                       Contingent
          32606 N. SPOTTED ROAD                                               Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HOLMES, STEVEN L                                                    Contingent
          32606 N. SPOTTED RD.                                                Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $37,610.59
          HONEYWELL PROCESS SOLUTIONS                                         Contingent
          115 TABOR ROAD                                                      Unliquidated
          MORRIS PLAINS, NJ 07950                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $829.45
          HORIZON HELICOPTERS INC                                             Contingent
          PO BOX 28                                                           Unliquidated
          LACLEDE, ID 83841-0029                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,029.48
          HT X CUTCO INC.                                                     Contingent
          17700 SE MILL PLAIN BLVD SUITE 180                                  Unliquidated
          VANCOUVER, WA 98683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HUGGINS, CHRISTINE                                                  Contingent
          P.O. BOX 1501                                                       Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HUNT, KRISTEN AILEEN                                                Contingent
          472 JADE DRIVE                                                      Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HUNTER, DENNIS D                                                    Contingent
          435 DEER TRAIL ROAD                                                 Unliquidated
          BLANCHARD, ID 83804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          HUNTLEY, BENSON E                                                   Contingent
          P.O. BOX 367                                                        Unliquidated
          METALINE FALLS, WA 99153                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $929.84
          IDAHO DEPT OF LANDS                                                 Contingent
          3284 WEST INDUSTRIAL LOOP                                           Unliquidated
          COEUR D'ALENE, ID 83815-6021                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $195,875.67
          IDAHO FOREST GROUP                                                  Contingent
          4447 EAST CHILCO ROAD                                               Unliquidated
          ATHOL, ID 83801-8477                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $233,889.80
          IDAHO FOREST GROUP                                                  Contingent
          4447 E CHILCO RD                                                    Unliquidated
          ATHOL, ID 83801                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $24,351.92
          IDAHO FOREST GROUP LLC                                              Contingent
          4447 EAST CHILCO ROAD                                               Unliquidated
          ATHOL, ID 83801-8477                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,282.88
          IDAHO WEST LLC                                                      Contingent
          511 BOB NEWMAN ROAD                                                 Unliquidated
          IONE, WA 99139-9618                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,275.00
          INDUSTRIAL PREVENTATIVE MAINT. SOLU                                 Contingent
          ATTN: DAVID WILLIAMS                                                Unliquidated
          861 HUMMINGBIRD LANE                                                Disputed
          NEWPORT, WA 99156
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,607.12
          INGREDION INCORPORATED                                              Contingent
          PO BOX 742206                                                       Unliquidated
          LOS ANGELES, CA 90074                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,256.76
          INLAND EMPIRE PAPER COMPANY                                         Contingent
          3320 N ARGONNE                                                      Unliquidated
          SPOKANE, WA 99212-2099                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,791.98
          INLAND ENVIRONMENTAL RESOURC                                        Contingent
          PO BOX 18978                                                        Unliquidated
          SPOKANE, WA 99228                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $122.14
          INLAND FOREST MANAGEMENT INC                                        Contingent
          PO BOX 1966                                                         Unliquidated
          SANDPOINT, ID 83864                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,159.55
          INLAND PIPE & SUPPLY                                                Contingent
          530 BROADWAY E                                                      Unliquidated
          MOSES LAKE, WA 98837                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $170.49
          INSIGHT DIRECT USA                                                  Contingent
          6820 HARL AVE S                                                     Unliquidated
          TEMPE, AZ 85283                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $35,000.00
          Intellitrans                                                        Contingent
          PO BOX 934941                                                       Unliquidated
          Atlanta, GA 31193-3493                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $623.70
          INTELLITRANS LLC                                                    Contingent
          PO BOX 934941                                                       Unliquidated
          ATLANTA, GA 31193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $81,286.35
          ITS Logistics Brokerage                                             Contingent
          555 VISTA BOULEVARD                                                 Unliquidated
          Sparks, NV 89434                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          IVES, BEVERLY J                                                     Contingent
          1501 FLOWERY TRAIL RD                                               Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JACHETTA, FRANK E                                                   Contingent
          68-1745 WAIKOLOA RD #J102                                           Unliquidated
          WAIKOLOA, HI 96738                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JACKSON, SHERRI L                                                   Contingent
          3 F VIA CASTILLA                                                    Unliquidated
          LAGUNA WOODS, CA 92637                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JAPPERT, MARK                                                       Contingent
          1036 HIGH DESERT DRIVE                                              Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JARED, DOUG                                                         Contingent
          P O BOX 177                                                         Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $916.78
          JASON HESTER LOGGING                                                Contingent
          13 MARA MEADOWS RD                                                  Unliquidated
          ATHOL, ID 83801                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $63,027.40
          JHGA REAL ESTATE                                                    Contingent
          17700 SE MILL PLAIN BLVD SUITE 180                                  Unliquidated
          VANCOUVER, WA 98683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $205.08
          JMF INC                                                             Contingent
          318 HIGHLAND AVENUE                                                 Unliquidated
          ST MARIES, ID 83861-2042                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,039.04
          JOE HESTER                                                          Contingent
          W 11611 PRAIRIE AVE                                                 Unliquidated
          POST FALLS, ID 83854                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,904.00
          JOHN HANCOCK LIFE INS CO USA                                        Contingent
          17700 SE MILL PLAIN BLVD SUITE 180                                  Unliquidated
          VANCOUVER, WA 98683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JOHNSON, JON DERRICK                                                Contingent
          241 SUMMER ROAD PO BOX 121                                          Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          JOHNSON, MYRON L                                                    Contingent
          10792 HWY 211                                                       Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $957.44
          JWP LOGGING INC.                                                    Contingent
          PO BOX 1398                                                         Unliquidated
          SANDPOINT, ID 83864                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,624.07
          K & N ELECTRIC                                                      Contingent
          PO BOX 303                                                          Unliquidated
          SPOKANE, WA 99210-0303                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,777.13
          KADANT SOLUTIONS DIVISION                                           Contingent
          35 SWORD ST                                                         Unliquidated
          AUBURN, MA 01501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,059.49
          Kam-Way Transportation, Inc                                         Contingent
          215 MARINE DR. , SUITE 200                                          Unliquidated
          Blaine, WA 98230                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,617.03
          KAMAN INDUSTRIAL TECHNOLOGIE                                        Contingent
          PO BOX 2646                                                         Unliquidated
          SPOKANE, WA 99220                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KAMPS, MICHAEL EDWARD                                               Contingent
          P O BOX 1371                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $560.68
          KANO LABORATORIES                                                   Contingent
          PO BOX 110098                                                       Unliquidated
          NASHVILLE, TN 37222                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KEANE, FRED D                                                       Contingent
          4213 SUMMERTON DR.                                                  Unliquidated
          BYRAM, MS 39272                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,520.62
          KERSHAW'S INC                                                       Contingent
          119 HOWARD ST S                                                     Unliquidated
          SPOKANE, WA 99204                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KESSLER, BERNARD                                                    Contingent
          1405 W CLIFFWOOD COURT                                              Unliquidated
          SPOKANE, WA 99218                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KILLMER, DENNIS E                                                   Contingent
          P O BOX 674                                                         Unliquidated
          CHEWELAH, WA 99109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $300.00
          KING SOFT WATER CO                                                  Contingent
          1425 HOUSTON E                                                      Unliquidated
          SPOKANE, WA 99207                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KING, BRAD J                                                        Contingent
          705 W BELLWOOD DRIVE #29                                            Unliquidated
          SPOKANE, WA 99218                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KINGERY, LINDA M                                                    Contingent
          POST OFFICE BOX 42                                                  Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KINGERY, RONALD WAYNE                                               Contingent
          P O BOX 2051                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,878.03
          KIWICO LLC                                                          Contingent
          122 N RAYMOND RD SUITE 2                                            Unliquidated
          SPOKANE VALLEY, WA 99206                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $208.32
          KLEENAIR PRODUCTS CO INC                                            Contingent
          PO BOX 1669                                                         Unliquidated
          CLACKAMAS, OR 97015                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,080.07
          Knight Transportation                                               Contingent
          PO BOX 29897                                                        Unliquidated
          Phoenix, AZ 85038-9897                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KOBYLARZ, MARK P                                                    Contingent
          210 W. CIRCLE DR.                                                   Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KOEHN, GREG A                                                       Contingent
          172 GREGG'S COURT                                                   Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,705.60
          KONE INC                                                            Contingent
          5805 SHARP AVE E SUITE A5                                           Unliquidated
          SPOKANE, WA 99212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KONKRIGHT, DANIEL L                                                 Contingent
          P.O. BOX 185                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KONKRIGHT, TIM J                                                    Contingent
          P.O. BOX 216                                                        Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KREAGER, CLIFFORD                                                   Contingent
          279 BODIE CANYON RD                                                 Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          KROGH, TODD MATTHEW                                                 Contingent
          912 DEER VALLEY ROAD                                                Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $60,000.00
          Lake Superior Forest Products Inc.                                  Contingent
          111 Robert-Bourassa Blvd.                                           Unliquidated
          Montreal, Quebec, H3C 2M1, Canada                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LANDAHL, BRUCE D                                                    Contingent
          8229 N MARJORIE STREET                                              Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,536.20
          LANE MOUNTAIN CO                                                    Contingent
          PO BOX 127                                                          Unliquidated
          VALLEY, WA 99181                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LARSON, CODY A                                                      Contingent
          892 BAKER LAKE ROAD                                                 Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LAWRENCE, ADRIAN DUWAYNE                                            Contingent
          PO BOX 1973                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LEBLANC, JAMES P                                                    Contingent
          731 GREGGS ROAD                                                     Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LEISHMAN, THOMAS P                                                  Contingent
          12105 SW LAUSANNE ST                                                Unliquidated
          WILSONVILLE, OR 97070                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,887.50
          LHT LLC                                                             Contingent
          PO BOX 1556                                                         Unliquidated
          SPIRIT LAKE, ID 83869                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,796.55
          LIBERTY MUTUAL INSURANCE GRO                                        Contingent
          PO BOX 0569                                                         Unliquidated
          CAROL STREAM, IL 06132-0569                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LOUCK, JOHN P                                                       Contingent
          731 GREGGS RD                                                       Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LUFFMAN, CELESTE                                                    Contingent
          37176 HWY 41                                                        Unliquidated
          OLD TOWN, ID 83822                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LUITEN, TIM                                                         Contingent
          17022 EAST 4TH                                                      Unliquidated
          SPOKANE VALLEY, WA 99037                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LUKE, DAVID                                                         Contingent
          7372 COYOTE TRAIL                                                   Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          LUKE, PEGGY A                                                       Contingent
          P O BOX 11373                                                       Unliquidated
          SPOKANE VALLEY, WA 99211                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MACHTOLF, PAUL                                                      Contingent
          12306 N. FAIRWOOD DRIVE                                             Unliquidated
          SPOKANE, WA 99217                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,985.00
          MAINTENANCE METROLOGY LLC                                           Contingent
          2427 W BERKLEY LN                                                   Unliquidated
          HAYDEN, ID 83835                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MAJOR, CHRISTOPHER THOMAS                                           Contingent
          PO BOX 741                                                          Unliquidated
          CHATTAROY, WA 99003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MALSBURY, DORWIN                                                    Contingent
          301 N UNION, SUITE B                                                Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MANGANO, JASON MICHAEL                                              Contingent
          917 CHURCH STREET                                                   Unliquidated
          SANDPOINT, ID 83864                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MANWILL, HOWARD M                                                   Contingent
          321 RIVER RD.                                                       Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MARGESON, DONALD R                                                  Contingent
          23575 SANDLAKE RD.                                                  Unliquidated
          CLOVERDALE, OR 97112                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MARTIN, CHRIS J                                                     Contingent
          1297 EASTSIDE ROAD                                                  Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MARTIN, CHRIS R                                                     Contingent
          2911 HORSESHOE DRIVE                                                Unliquidated
          LAS VEGAS, NV 89120                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,358.64
          MASON LOGGING LLC                                                   Contingent
          18077 VICKI RD                                                      Unliquidated
          RATHDRUM, ID 83858                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MATLOCK, GREGORY LEE                                                Contingent
          39905 N SUNSET LANE                                                 Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MCCORMICK, CYNTHIA                                                  Contingent
          203 RIVERWATCH CIRCLE                                               Unliquidated
          KINGSPORT, TN 37660                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MCCORMICK, MICHAEL                                                  Contingent
          203 RIVERWATCH CIRCLE                                               Unliquidated
          KINGSPORT, TN 37660                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MCISAAC, JAY                                                        Contingent
          40321 SUNNYSIDE LANE                                                Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MCKENNETT, HARLEN M                                                 Contingent
          P O BOX 315                                                         Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MEANY, WILLIAM G                                                    Contingent
          10161 NORTH FAIRWAY DRIVE                                           Unliquidated
          HAYDEN LAKE, ID 83835-9565                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $13,643.56
          MegaCorp Logistics, LLC                                             Contingent
          7040 WRIGHTSVILLE AVE.                                              Unliquidated
          Wilmington, NC 28403                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MELENDEZ, MANUEL R                                                  Contingent
          P.O. BOX 1468                                                       Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MESERVE, DON C                                                      Contingent
          6965 S FOREST RIDGE DR                                              Unliquidated
          SPOKANE, WA 99224                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MEYERS, RICHARD EAN                                                 Contingent
          PO BOX 1656                                                         Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MILLER, JAMES L                                                     Contingent
          910 E WELLINGTON DR.                                                Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MILLER, RACHEL E                                                    Contingent
          22 STEWART DR                                                       Unliquidated
          BLANCHARD, ID 83804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MILLER, RANDALL D                                                   Contingent
          662 JERMAIN RD                                                      Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MILLER, ROBIN K                                                     Contingent
          910 E.WELLINGTON DR.                                                Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MILLER, SCOTT B                                                     Contingent
          P O BOX 678                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MINOIA, MICHAEL P                                                   Contingent
          14919 N LOWE ROAD                                                   Unliquidated
          MEAD, WA 99021                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MITCHELL, JOSHUA J                                                  Contingent
          P O BOX 712                                                         Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MITTAN, MATTHEW                                                     Contingent
          PO BOX 135                                                          Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MIZE, LAYMAN H                                                      Contingent
          649 RILES CREED PK DR PO BOX 3                                      Unliquidated
          LACLEDE, ID 83841                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MOE, TERRY                                                          Contingent
          949 SPRUCE AVE                                                      Unliquidated
          COEUR D'ALENE, ID 83814                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MOHR, WILLIAM J                                                     Contingent
          14562 N. WRIGHT ST                                                  Unliquidated
          RATHDRUM, ID 83858                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MONK, BRIAN                                                         Contingent
          566 W QUAIL LOOP                                                    Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MONK, TRACY                                                         Contingent
          390 WATERTOWER LANE                                                 Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MORROW, DEBORAH R                                                   Contingent
          617 SOUTH 53RD AVENUE                                               Unliquidated
          YAKIMA, WA 98908                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,496.49
          MOTION INDUSTRIES INC.                                              Contingent
          PO BOX 11894                                                        Unliquidated
          SPOKANE, WA 99211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MULLALEY, SPENCER ROBERT                                            Contingent
          952 GREGGS ROAD                                                     Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MUNRO, SIDNEY A                                                     Contingent
          POST OFFICE BOX 1304                                                Unliquidated
          CHEWELAH, WA 99109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          MYERS, BRANDYN                                                      Contingent
          931 TURK RD                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $41.43
          NAPA AUTO PARTS - PRIEST RIV                                        Contingent
          PO BOX 1903                                                         Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NELSON, CANDY S                                                     Contingent
          51 N. BOBIER ROAD                                                   Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NELSON, JOHN D                                                      Contingent
          3154 PENINSULA RD                                                   Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NENEMA, JAMES L                                                     Contingent
          12801 W 1ST AVE                                                     Unliquidated
          AIRWAY HEIGHTS, WA 99001                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NEUWELT, JOSEPH F                                                   Contingent
          12537 DEERBRUSH CT.                                                 Unliquidated
          NAMPA, ID 83651                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $375.00
          NEWPORT VISION SOURCE PS                                            Contingent
          FENNO EYE CLINIC INC PS                                             Unliquidated
          205 SOUTH WASHINGTON                                                Disputed
          NEWPORT, WA 99156
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $292.76
          NORDSON CORP                                                        Contingent
          11475 LAKEFIELD DR                                                  Unliquidated
          DULUTH, GA 30136-1511                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,847.22
          NORTH COAST ELECTRIC CO                                             Contingent
          4216 E. MAIN AVE.                                                   Unliquidated
          SPOKANE, WA 99202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NORTHRUP, CARL B                                                    Contingent
          864 JARED RD                                                        Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Ponderay Newsprint Company                                                              Case number (if known)            20-01309
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 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $72.68
          NORTHSTAR CLEAN CONCEPTS                                            Contingent
          633 N HELENA ST                                                     Unliquidated
          SPOKANE, WA 99202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,124.74
          NORTHWEST PULP & PAPER ASSOC                                        Contingent
          212 UNION AVENUE SE SUITE 103                                       Unliquidated
          OLYMPIA, WA 98501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $207.50
          NORTHWEST PUMP & EQUIPMENT C                                        Contingent
          2800 31ST AVE NW                                                    Unliquidated
          PORTLAND, OR 97210                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NORTON, CONNIE E                                                    Contingent
          P.O.BOX 232                                                         Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NOVAKOVICH, CHAD JAMES                                              Contingent
          520 EAST OWENS ROAD                                                 Unliquidated
          CHATTAROY, WA 99003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          NUNN, BRUCE E                                                       Contingent
          92 HERRICK ROAD                                                     Unliquidated
          BROOKLYN, CT 06234                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,200.26
          NURNBERG SCIENTIFIC                                                 Contingent
          18500 SW TETON AVE                                                  Unliquidated
          TUALATIN, OR 97062                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $714.29
          O'REILLY AUTO PARTS                                                 Contingent
          PO BOX 9464                                                         Unliquidated
          SPRINGFIELD, MO 65801                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,120.00
          OGLETREE, DEAKINS, NASH, SMO                                        Contingent
          102 SOUTH MAIN STREET                                               Unliquidated
          GREENVILLE, SC 29601                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          OLSON, WILLIAM L                                                    Contingent
          10904 NE 61ST AVENUE                                                Unliquidated
          VANCOUVER, WA 98686-4602                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          OPP, SUE E                                                          Contingent
          17606 72ND AVE E                                                    Unliquidated
          PUYALLUP, WA 98375                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          OROZCO, LEO JOHN                                                    Contingent
          1809 E CAROL ST APT #1                                              Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          OSCARSON, RON L                                                     Contingent
          4222 FREEMAN LAKE ROAD                                              Unliquidated
          OLD TOWN, ID 83822                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          OWENS, MARK                                                         Contingent
          709 NW 1047TH WAY                                                   Unliquidated
          VANCOUVER, WA 98685                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $47,053.13
          OXARC INC                                                           Contingent
          PO BOX 2605                                                         Unliquidated
          SPOKANE, WA 99220                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,988.78
          PACIFIC TERMINALS, INC.                                             Contingent
          3480 W MARGINAL WAY SW                                              Unliquidated
          SEATTLE, WA 98106                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PACK, DEANNA                                                        Contingent
          P.O. BOX 834                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PACK, EARL J                                                        Contingent
          P.O. BOX 834                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $631.18
          PACWEST MACHINERY LLC                                               Contingent
          3107 TRENT E                                                        Unliquidated
          SPOKANE, WA 99202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $276.25
          PAPE MATERIAL HANDLING                                              Contingent
          5518 BROADWAY E                                                     Unliquidated
          SPOKANE, WA 99212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,682.17
          PAPEX INC                                                           Contingent
          230 WATLINE AVENUE                                                  Unliquidated
          MISSISSAUGA, ON L4Z 1P4                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $739.33
          PARAMOUNT SUPPLY CO                                                 Contingent
          PO BOX 1049                                                         Unliquidated
          VERADALE, WA 99037                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,090.21
          PARKSIDE PROPERTIES & FINANC                                        Contingent
          3917 N. POST ST                                                     Unliquidated
          SPOKANE, WA 99205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $744.48
          PAUL GLAZIER LOGGING                                                Contingent
          PO BOX 464                                                          Unliquidated
          SANDPOINT, ID 83864                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PEARMAN, PERRY                                                      Contingent
          8272 FERTILE VALLEY ROAD                                            Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,579.79
          PEARSON LOGGING, LLC                                                Contingent
          698 ESTATES LOOP                                                    Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $82,560.00
          Pend Oreille Valley Railroad                                        Contingent
          1981 BLACK ROAD                                                     Unliquidated
          Usk, WA 99180-9701                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Pension Benefit Guaranty Corp.                                      Contingent
          1200 K. Street NW                                                   Unliquidated
          Washington, DC 20005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Pension Benefit Guaranty Corp.                                      Contingent
          Dept. 4316                                                          Unliquidated
          Carol Stream, IL 60122-4316                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PERALTA, KENNETH                                                    Contingent
          1393 GREEN ROAD                                                     Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PERKINS, ROBERT                                                     Contingent
          P O BOX 676                                                         Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $45,315.63
          PEROXYCHEM LLC                                                      Contingent
          0987690 BC LTD                                                      Unliquidated
          PO BOX 15573 STATION A                                              Disputed
          TORONTO, ON M5W 1C1
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PERRY, STANLEY J                                                    Contingent
          8004 WRIGLEY DRIVE                                                  Unliquidated
          PASCO, WA 99301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PERSYN, JOSEPH ALAN                                                 Contingent
          P O BOX 964                                                         Unliquidated
          SPIRIT LAKE, ID 83869                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PERSYN, KEVIN                                                       Contingent
          200 S FEA AVENUE                                                    Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PERSYN, NEIL R                                                      Contingent
          1082 LECLERC RD S                                                   Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PETRIE, JR. THOMAS                                                  Contingent
          10152 LECLERC ROAD                                                  Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PETRIE,, SR. THOMAS W                                               Contingent
          852 LECLERC CREEK ROAD                                              Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PHILLIPS, THOMAS WAYNE                                              Contingent
          292 JADE DR                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PHILLIPS,, JR. J. B.                                                Contingent
          5270 AL HIGHWAY 28                                                  Unliquidated
          THOMASTON, AL 36783-3145                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PISANO, FRANK                                                       Contingent
          910 NORTH MARGARET AVENUE                                           Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,150.18
          PLUMMER FOREST PRODUCTS INC                                         Contingent
          PO BOX 788                                                          Unliquidated
          POST FALLS, ID 83877                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $88,210.26
          PLUMMER FOREST PRODUCTS INC                                         Contingent
          PO BOX 788                                                          Unliquidated
          POST FALLS, ID 83877-0788                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $276.00
          PONDERAY EMPLOYEE ASSOCIATIO                                        Contingent
          422767 SR 20                                                        Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,051,000.00
          Ponderay Employee Pension Plan                                      Contingent
          c/o Ponderay Newsprint Co.                                          Unliquidated
          422767 Hwy 20                                                       Disputed
          Usk, WA 99180
                                                                             Basis for the claim:    as of 12/31/2019
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PONTIUS, DENISE                                                     Contingent
          664 KENT CREEK LANE                                                 Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          POQUETTE, PETER E                                                   Contingent
          16109 N. CIRRUS RD.                                                 Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $250.00
          PORT OF PEND OREILLE                                                Contingent
          DBA PEND OREILLE VALLEY RAILROAD                                    Unliquidated
          1981 BLACK RD                                                       Disputed
          USK, WA 99180
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $364,023.15
          POTLATCHDELTIC LAND & LUMBER                                        Contingent
          601 WEST FIRST AVENUE - SUITE 1600                                  Unliquidated
          SPOKANE, WA 99201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $180.40
          PREMIER PARTY RENTALS                                               Contingent
          PO BOX 101                                                          Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,401.03
          PRIDE POLYMERS LLC                                                  Contingent
          1111 N. 20TH AVE                                                    Unliquidated
          YAKIMA, WA 98902                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PRINE, HAROLD L                                                     Contingent
          402 SICELY ROAD                                                     Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PROVO, DONALD L                                                     Contingent
          38703 N. SHORT ROAD                                                 Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          PUGH, SCOTT                                                         Contingent
          1714 S RAINIER STREET                                               Unliquidated
          KENNEWICK, WA 99337                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,300.00
          PULP-SMART CONSULTING DEVELO                                        Contingent
          17817 LESLIE STREET UNIT 14                                         Unliquidated
          NEWMARKET, ON L3Y 8C6                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RAINEY, JAMES A                                                     Contingent
          P O BOX 1766                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RALSTON, JAIME G                                                    Contingent
          108 MACAVOY                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RALSTON, TAMARAC                                                    Contingent
          4215 E MOODY LANE                                                   Unliquidated
          MEAD, WA 99021                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,021.00
          RAM TRUCKING                                                        Contingent
          PO BOX 398                                                          Unliquidated
          BROWNSVILLE, OR 97327                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RAPP, DAREN                                                         Contingent
          2140 WHEATLANDS AVENUE                                              Unliquidated
          LEWISTON, ID 83501                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $689.31
          RC POWERS, KLH LLC.                                                 Contingent
          2195 WESTMOND                                                       Unliquidated
          SAGLE, ID 83860                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          REEVE, GARY                                                         Contingent
          11925 N MORTON DRIVE                                                Unliquidated
          SPOKANE, WA 99218                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          REEVES, JOHN PADDOCK                                                Contingent
          PO BOX 1476                                                         Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,358.90
          REHN & ASSOCIATES                                                   Contingent
          140 SOUTH ARTHUR SUITE 301                                          Unliquidated
          SPOKANE, WA 99205-5433                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $460.00
          REHN AND ASSOCIATES                                                 Contingent
          PO BOX 5433                                                         Unliquidated
          SPOKANE, WA 99205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RILEY, MICHAEL WILLIAM                                              Contingent
          12671 DUFORT ROAD                                                   Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROBERG, RODNY                                                       Contingent
          P O BOX 383                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROBERTS, MICHAEL                                                    Contingent
          1155 NORTH BAINBRIDGE ST.                                           Unliquidated
          POST FALLS, ID 83854                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROBINSON, DANIEL                                                    Contingent
          2302 FLOWERY TRAIL ROAD                                             Unliquidated
          USK, WA 99156                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROGERS, ELVIN ALLEN                                                 Contingent
          P O BOX 1537                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROLLINS, KIMBERLY                                                   Contingent
          69 VILLAGE DRIVE                                                    Unliquidated
          ORMOND BEACH, FL 32174                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROLLMAN, EARL F                                                     Contingent
          1035 60TH STREET N                                                  Unliquidated
          GRANVILLE, ND 58741                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $24,800.00
          ROLLVIS SA                                                          Contingent
          C/O AMERICAN ROLLER SCREW                                           Unliquidated
          10015 PARK CEDAR DRIVE SUITE 150                                    Disputed
          CHARLOTTE, NC 28210
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,493.60
          RONALD J. HENTGES                                                   Contingent
          2269 SUMMIT VALLEY RD                                               Unliquidated
          ADDY, WA 99101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,580.20
          ROSEBURG FOREST PRODUCTS CO.                                        Contingent
          PO BOX 1088                                                         Unliquidated
          ROSEBURG, OR 97470                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,016.83
          ROSEMOUNT INC                                                       Contingent
          PO BOX 549                                                          Unliquidated
          CHANHASSEN, MN 55317                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ROSINSKI, CHUCK                                                     Contingent
          787 FOX CREEK SPUR                                                  Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,873.10
          ROSS MACARTHUR                                                      Contingent
          398892 HWY 20                                                       Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $8,847.00
          ROTODYNE INC                                                        Contingent
          320 NW 85TH ST                                                      Unliquidated
          SEATTLE, WA 98117                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,427.66
          RR DONNELLEY                                                        Contingent
          421 RIVERSIDE AVE W SUITE 602                                       Unliquidated
          SPOKANE, WA 99201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          RUTHERFORD, BRUCE                                                   Contingent
          792 PENNY LANE                                                      Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,257.02
          RYAN HERCO FLOW SOLUTIONS                                           Contingent
          11805 NE 99TH ST SUITE 1350                                         Unliquidated
          VANCOUVER, WA 98682                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SANDUSKY, MICHAEL                                                   Contingent
          2204 - 35TH ST NW                                                   Unliquidated
          GIG HARBOR, WA 98335                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SAXON, JOHN                                                         Contingent
          N 27505 COTTONWOOD                                                  Unliquidated
          CHATTAROY, WA 99003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SAXON, JOSHUA ADAM                                                  Contingent
          5727 N HEMLOCK ST                                                   Unliquidated
          SPOKANE, WA 99205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCHNEIDER, JEANINE M                                                Contingent
          P.O. BOX 1090                                                       Unliquidated
          HAMILTON, MT 59840                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCHULTZ, BRENDA M                                                   Contingent
          10356 S. THICKET PL.                                                Unliquidated
          HEREFORD, AZ 85615                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCHULTZ, KENNETH W                                                  Contingent
          151 CARPENTER DRIVE                                                 Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCHULTZ, PATRICK                                                    Contingent
          P O BOX 235                                                         Unliquidated
          LOON LAKE, WA 99148                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCOTT, BRADLEY J                                                    Contingent
          P O BOX 171                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCOTT, LARRY A                                                      Contingent
          432 MCCLOUD CREEK ROAD                                              Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCOTT, PATRICK A                                                    Contingent
          6837 DEER VALLEY ROAD                                               Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCOTT, STEVEN R                                                     Contingent
          242 DALKENA ST.                                                     Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCRIBNER, JACOB M                                                   Contingent
          PO BOX 1591                                                         Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SCRIBNER, MARK PERRY                                                Contingent
          P O BOX 1425                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SEGER, JEREMI ACE                                                   Contingent
          P O BOX 414                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $22,654.22
          SETH CAMPBELL LOGGING LLC                                           Contingent
          PO BOX 222                                                          Unliquidated
          BLANCHARD, ID 83804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SHAFFER, PATRICIA J                                                 Contingent
          11212 NORTH MOFFAT ROAD                                             Unliquidated
          MEAD, WA 99021                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Ponderay Newsprint Company                                                              Case number (if known)            20-01309
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 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,318.24
          SHANE CAMPBELL TRUCKING                                             Contingent
          PO BOX 14                                                           Unliquidated
          BLANCHARD, ID 83804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SHANHOLTZER, THOMAS P                                               Contingent
          P O BOX 1185                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SHANHOLTZER, TYE W                                                  Contingent
          431 DANFORTH ROAD                                                   Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SHANHOLTZER, TYSON LEE                                              Contingent
          431 DANFORTH ROAD                                                   Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,666.40
          SHAWN BUTLER LOGGING                                                Contingent
          243 GROVES ADDITION                                                 Unliquidated
          OLDTOWN, ID 83822                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $30.67
          SHERWIN WILLIAMS PAINT CO                                           Contingent
          3200 E TRENT AVE BLDG 2 SUITE C                                     Unliquidated
          SPOKANE, WA 99202-4456                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SHONKWILER, CHARLES M                                               Contingent
          1900 S. BEAUMONT DRIVE                                              Unliquidated
          MOSES LAKE, WA 98837                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $200.00
          SHOPTIKAL LLC                                                       Contingent
          SHOPKO OPTICAL                                                      Unliquidated
          PO BOX 8402                                                         Disputed
          CAROL STREAM, IL 60197-8402
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,340.16
          SILVER CITY TIMBER CO INC.                                          Contingent
          PO BOX 1383                                                         Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SIMPSON, NATHAN                                                     Contingent
          2411 S CANYON WOODS LANE                                            Unliquidated
          SPOKANE, WA 99224                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SKEELS, STEVE L                                                     Contingent
          4710 MARYWOOD DR                                                    Unliquidated
          SPRING, TX 77388                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,321.14
          SLINGSHOT TRANSPORTATION INC                                        Contingent
          PO BOX 610                                                          Unliquidated
          Brooklyn, MI 49230                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SLUSSER, WILLIAM J                                                  Contingent
          3025 W WOOLARD ROAD                                                 Unliquidated
          COLBERT, WA 99005                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SMOOT, ERICK C                                                      Contingent
          6701 DEER VALLEY ROAD                                               Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SMYLY, DAVID R                                                      Contingent
          2511 S.SULLIVAN RD                                                  Unliquidated
          SPOKANE VALLEY, WA 99037                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,079.18
          SNAP-ON TOOLS                                                       Contingent
          1884 CAMDEN RD                                                      Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $57,187.61
          SONOCO PRODUCTS CO                                                  Contingent
          0123 1ST AVE                                                        Unliquidated
          LEWISTON, ID 83501                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $310.90
          SOUND SEAL & PACKING CO                                             Contingent
          PO BOX 605                                                          Unliquidated
          EDMONDS, WA 98020                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SPINELLI, ANTHONY                                                   Contingent
          7010 W KENDICK AVE                                                  Unliquidated
          NINE MILE FALLS, WA 99026                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $470.98
          SPRAYING SYSTEMS COMPANY                                            Contingent
          C/O FJ ALBERT & ASSOC                                               Unliquidated
          1720 100TH PL SUITE 102                                             Disputed
          EVERETT, WA 98208
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,571.00
          SPRING ENVIRONMENTAL INC                                            Contingent
          1011 CEDAR ST N                                                     Unliquidated
          SPOKANE, WA 99201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STANG, DANIEL LEE                                                   Contingent
          82 DEVIL`S DRIVE                                                    Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STANG, STACY D                                                      Contingent
          18461WESTSIDE CALISPEL RD                                           Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $570.56
          STANTON MCDANIEL                                                    Contingent
          6201 S LECLERC RD                                                   Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STARR, MARGINIA R                                                   Contingent
          POST OFFICE BOX 130                                                 Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STECK, MONICA                                                       Contingent
          P O BOX 2165                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STEFFEN, KAREN A                                                    Contingent
          P O BOX 395                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $32.37
          STERICYCLE INC                                                      Contingent
          PO BOX 6578                                                         Unliquidated
          CAROL STREAMS, IL 60197-6578                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STEWART, ELIZABETH                                                  Contingent
          14526 N FAIRVIEW DRIVE                                              Unliquidated
          MEAD, WA 99021                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STEWART, GREG                                                       Contingent
          C/O STEWART-LONGHURST, PS                                           Unliquidated
          323 E. 2nd Ave. Suite 101                                           Disputed
          SPOKANE, WA 99202
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STEWART, MARK DONALD                                                Contingent
          PO BOX 248                                                          Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STIGALL, AUDIE A                                                    Contingent
          145 5TH ST.                                                         Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,092.65
          STIMSON LUMBER CO - ST. MARI                                        Contingent
          7600 NORTH MINERAL DRIVE SUITE 400                                  Unliquidated
          SUITE 400                                                           Disputed
          COEUR D'ALENE, ID 83815-7763
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $27,372.72
          STIMSON LUMBER COMPANY                                              Contingent
          7600 NORTH MINERAL DRIVE                                            Unliquidated
          COEUR D'ALENE, ID 83815-7763                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STOCKER, MARIE                                                      Contingent
          2812 S. PITTSBURG ST.                                               Unliquidated
          SPOKANE, WA 99203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,864.65
          STOEL RIVES LLP                                                     Contingent
          760 SW NINTH AVE, SUITE 3000                                        Unliquidated
          PORTLAND, OR 97205                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STOLLEY, DALE                                                       Contingent
          31000 N 10TH STREET                                                 Unliquidated
          SPIRIT LAKE, ID 83869                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STONE, ROBERT                                                       Contingent
          P.O. BOX 371                                                        Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          STRANGE, JOEL D                                                     Contingent
          296 DEER TRAIL ROAD                                                 Unliquidated
          BLANCHARD, ID 83804                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,612.94
          SUMTOTAL SYSTEMS, LLC                                               Contingent
          600 PARISIPPANY RD 2ND FLOOR                                        Unliquidated
          PARSIPPANY, NJ 03062                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SVOBODA, JEFF                                                       Contingent
          363 FRISSELL ROAD                                                   Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          SWEGLE, TODD                                                        Contingent
          15215 N GLENEDEN                                                    Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,203.09
          SWIFT TRANSPORTATION                                                Contingent
          PO BOX 643956                                                       Unliquidated
          CINCINNATI, OH 45264-3956                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $124,028.73
          Swift Transportation                                                Contingent
          PO BOX 643985                                                       Unliquidated
          Pittsburgh, PA 15264-3985                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,833.55
          TACOMA SCREW PRODUCTS, INC.                                         Contingent
          229 SOUTH HOWE ROAD                                                 Unliquidated
          SPOKANE VALLEY, WA 99212                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TATGE, GAYLENE                                                      Contingent
          1141 DAVIS ROAD                                                     Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TATGE, TROY M                                                       Contingent
          1141 DAVIS ROAD                                                     Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TAYLOR, CHARLES                                                     Contingent
          5816 NORTH CHRISTY LANE                                             Unliquidated
          SPOKANE, WA 99212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $189.19
          TECHNICHEM CORP                                                     Contingent
          1 N MAPLE GROVE ROAD                                                Unliquidated
          BOISE, ID 83704                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $702.00
          TECHNIDYNE CORP                                                     Contingent
          100 QUALITY AVE                                                     Unliquidated
          NEW ALBANY, IN 47150-2272                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TIEDE, CASEY RYAN                                                   Contingent
          631 N WASHINGTON AVE                                                Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TIEDE, DANIEL F                                                     Contingent
          552 LEVITCH RD                                                      Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TIEDE, JOSHUA DANIEL                                                Contingent
          631 N WASHINGTON AVENUE                                             Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,502.37
          TIM BENDICKSON                                                      Contingent
          29703 HIGHWAY 57                                                    Unliquidated
          PRIEST RIVER, ID 83856-9642                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,006.00
          TIMBER SOLUTIONS LLC                                                Contingent
          34 HALLIE WOOD LANE                                                 Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $17,362.14
          Total Quality Logistics                                             Contingent
          PO BOX 634558                                                       Unliquidated
          Cincinatti, OH 45263-4558                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $31,962.83
          Transfix                                                            Contingent
          111 WEST 19TH ST, 6TH FLOOR                                         Unliquidated
          New York, NY 10011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TRAUTMAN, TODD BLAINE                                               Contingent
          PO BOX 1874                                                         Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          TRYBAN, DEVIN MATTHEW                                               Contingent
          408 GLIDDEN AVE                                                     Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $48,559.96
          TW Transport, Inc.                                                  Contingent
          7405 S. HAYFORD RD.                                                 Unliquidated
          Cheney, WA 99004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          ULSTAD, JOSHUA M                                                    Contingent
          16320 N HATCH RD APT 603                                            Unliquidated
          COLBERT, WA 99005                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $41,591.00
          UNION PACIFIC                                                       Contingent
          PO BOX 502453                                                       Unliquidated
          St Louis, MO 63150-2453                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $11,713.72
          UNIT PROCESS CO                                                     Contingent
          834 80TH ST SW SUITE 300                                            Unliquidated
          EVERETT, WA 98203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,241.16
          UNITED CONVEYOR CORP                                                Contingent
          60 GENTILE ST E                                                     Unliquidated
          LAYTON, UT 84041                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,583.72
          V ALEXANDER & CO, INC                                               Contingent
          51 GERMANTOWN COURT SUITE 300                                       Unliquidated
          MEMPHIS, TN 38018                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,223.20
          VAAGEN BROS LUMBER INC.                                             Contingent
          565 WEST 5TH AVENUE                                                 Unliquidated
          COLVILLE, WA 99114-2113                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $60,569.44
          VALMET INC (CONSI-WA) FIBERT                                        Contingent
          2425 COMMERCE AVE NW SUITE 100                                      Unliquidated
          DULUTH, GA 30096                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,126.80
          VALMET INC.                                                         Contingent
          34320 PACIFIC HWY S                                                 Unliquidated
          FEDERAL WAY, WA 98003                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,027.60
          VALMET INC.                                                         Contingent
          2900 COURTYARDS DR                                                  Unliquidated
          NORCROSS, GA 30071-1554                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $18,470.40
          VALMET, INC.                                                        Contingent
          1280 WILLOWBROOK                                                    Unliquidated
          Beloit, WI 53511                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $80,369.09
          VALMET, INC. (AUTOMATION)                                           Contingent
          120 INTERSTATE WEST PKWY SUITE 450                                  Unliquidated
          LITHIA SPRINGS, GA 30122-3215                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          VANDEVANTER, THOMAS L                                               Contingent
          51 WOODLAND DRIVE                                                   Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          VAUGHN, CARL                                                        Contingent
          2501 NE 138TH AVE., APT 58                                          Unliquidated
          VANCOUVER, WA 98684                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          VAUGHN, GREGORY                                                     Contingent
          E 6216 RAE LANE                                                     Unliquidated
          COLBERT, WA 99005                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,899.68
          VEGA AMERICAS, INC.                                                 Contingent
          4170 ROSSLYN DRIVE                                                  Unliquidated
          CINCINNATI, OH 45209                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,075.00
          VENEER CHIP TRANSPORT, INC.                                         Contingent
          2205 PACIFIC HIGHWAY EAST                                           Unliquidated
          TACOMA, WA 98424                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          VERITY, LAURA B                                                     Contingent
          111 BERYL COURT                                                     Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $614.00
          VIBRATRONICS INC                                                    Contingent
          7303 FRONTIER DR                                                    Unliquidated
          GREENWELL SPRINGS, LA 70739                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $7,602.99
          VISIONARY BROADBAND                                                 Contingent
          1001 S DOUGLAS HWY SUITE 201                                        Unliquidated
          GILLETTE, WY 82716                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          VOGEL, GLORIA                                                       Contingent
          2441 FLOWERY TRAIL RD                                               Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          VOGEL, VANCE J                                                      Contingent
          10102 N WELLEN LANE                                                 Unliquidated
          SPOKANE, WA 99218                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $504.41
          VWR                                                                 Contingent
          355 TRECK DR                                                        Unliquidated
          SEATTLE, WA 98188                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WALDEN, FARREN                                                      Contingent
          631 NORTH WARREN                                                    Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $173.30
          WALJO SHEARD LLC                                                    Contingent
          ATTN: WALTER SHEARD                                                 Unliquidated
          2603 S SONNYBROOK LANE                                              Disputed
          SPOKANE VALLEY, WA 99037
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




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 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WALKUP, LONNIE                                                      Contingent
          37165 HWY 41                                                        Unliquidated
          OLDTOWN, ID 83822                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WALLIS, II ROBERT P                                                 Contingent
          751 HERBS DR.                                                       Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WALTON, ANDREW ISAAC                                                Contingent
          2613 E WINGER ROAD                                                  Unliquidated
          MEAD, WA 99021                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,386.05
          WAREHOUSE SPECIALISTS, LLC                                          Contingent
          WAREHOUSE SPECIALISTS, LLC                                          Unliquidated
          1160 N MAYFLOWER DRIVE                                              Disputed
          APPLETON, WI 54913
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,452.40
          WARREN SIMPSON                                                      Contingent
          PO BOX 39                                                           Unliquidated
          FORD, WA 99013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WARREN, STEVEN JAMES                                                Contingent
          534 W 3RD STREET                                                    Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Washington Dept. of Ecology                                         Contingent
          4601 N. Monroe St.                                                  Unliquidated
          Spokane, WA 99205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          Washington Dept. of Health                                          Contingent
          16201 E. Indiana Ave.                                               Unliquidated
          Spokane, WA 99216                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Notice only.
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $816.00
          WASHINGTON TRUCKING, INC                                            Contingent
          PO BOX 3279                                                         Unliquidated
          ARLINGTON, WA 98223                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $248.58
          WATSON MARLOW/BREDEL PUMPS                                          Contingent
          37 UPTON TECHNOLOGY PARK                                            Unliquidated
          WILMINGTON, MA 01887                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WEAVER, BONNIE J                                                    Contingent
          107 EAST H ST APT 302B                                              Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,947.34
          WEBECO LLC                                                          Contingent
          3774 WEST BEAN AVENUE                                               Unliquidated
          HAYDEN, ID 83835                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WEBER, SHARON                                                       Contingent
          132 LARCH STREET                                                    Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WEBER, WARREN P                                                     Contingent
          P O BOX 1500                                                        Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Ponderay Newsprint Company                                                              Case number (if known)            20-01309
              Name

 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,621.60
          WEDGE WOOD PRODUCTS                                                 Contingent
          ATTN: VICKIE LYNN HALEY                                             Unliquidated
          6092 COYOTE TRAIL                                                   Disputed
          NEWPORT, WA 99156
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WEISBARTH, GEORGE                                                   Contingent
          92 JORGENS ROAD                                                     Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WELSH, MARGARET P                                                   Contingent
          12431 SR 27                                                         Unliquidated
          PALOUSE, WA 99161                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,129.89
          WESCO CASCADE CONTROLS CORP                                         Contingent
          2025 E TRENT AVE                                                    Unliquidated
          SPOKANE, WA 99202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,929.68
          WESTERN POLYMER CORP                                                Contingent
          32 ROAD R SE                                                        Unliquidated
          MOSES LAKE, WA 98837                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $45.37
          WESTERN STATES EQUIPMENT CO                                         Contingent
          PO BOX 38                                                           Unliquidated
          BOISE, ID 83707-0038                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,408.30
          WESTERN TRANSPORT, LLC.                                             Contingent
          PO BOX 671                                                          Unliquidated
          SHERIDAN, WY 82801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Ponderay Newsprint Company                                                              Case number (if known)            20-01309
              Name

 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,870.00
          WHEELER INDUSTRIES INC                                              Contingent
          NORTH 1118 HOWE ROAD                                                Unliquidated
          SPOKANE, WA 99212-0917                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WHITE, HUGH WILLIAM                                                 Contingent
          1011 EAST SHARPSBURG AVE #540                                       Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WHITE, KEVIN DAVID                                                  Contingent
          1045 PENINSULA ROAD                                                 Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WIESE, CALEB                                                        Contingent
          BOX 515                                                             Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WILLIAMS, EDGE L                                                    Contingent
          3921 W SHAWNEE LANE                                                 Unliquidated
          SPOKANE, WA 99208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WILLIAMSON, JOSHUA                                                  Contingent
          P O BOX 990                                                         Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WILLNER, DANIEL J                                                   Contingent
          1001 W WALNUT                                                       Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Ponderay Newsprint Company                                                              Case number (if known)            20-01309
              Name

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $148,780.63
          Wilson Logistics                                                    Contingent
          PO BOX 874037                                                       Unliquidated
          Kansas City, MO 64187-4037                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WILSON, CHRISTOPHER MICHAEL                                         Contingent
          8720 E MANSFIELD                                                    Unliquidated
          SPOKANE VALLEY, WA 99212                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WILSON, KEITH W                                                     Contingent
          951 BOND ROAD                                                       Unliquidated
          CUSICK, WA 99119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WINCHESTER, CAROLE                                                  Contingent
          209 HARTWELL LAKE DR                                                Unliquidated
          SENECA, SC 29678                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $903.03
          WISE LOGGING LLC                                                    Contingent
          4617 BELLSTAR RD                                                    Unliquidated
          CLAYTON, WA 99110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WISE, NEWTON                                                        Contingent
          1261 JERMAIN RD                                                     Unliquidated
          NEWPORT, WA 99156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WOOD, CHARLES R                                                     Contingent
          1971 ALEXANDER RD                                                   Unliquidated
          SILSBEE, TX 77656                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Ponderay Newsprint Company                                                              Case number (if known)            20-01309
              Name

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WOOD, STEVEN R                                                      Contingent
          2266 E SUNDOWN DRIVE                                                Unliquidated
          COEUR D ALENE, ID 83815                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          WYLIE, SHANELLE                                                     Contingent
          20 E LAKEVIEW BLVD                                                  Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $855.90
          XEROX CORPORATION                                                   Contingent
          45 GLOVAR AVENUE                                                    Unliquidated
          NORWALK, CT 06856                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          YARBER, DENVER L                                                    Contingent
          13752 LECLERC ROAD                                                  Unliquidated
          USK, WA 99180                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          YARBER, RONALD M                                                    Contingent
          3010 WESTMORELAND ROAD                                              Unliquidated
          DEER PARK, WA 99006                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          YORK, DAVID                                                         Contingent
          P O BOX 111                                                         Unliquidated
          PRIEST RIVER, ID 83856                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $0.00
          YORK, MARK B                                                        Contingent
          5341 HOODOO LOOP                                                    Unliquidated
          OLDTOWN, ID 83822                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




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 Debtor       Ponderay Newsprint Company                                                              Case number (if known)            20-01309
              Name

 3.572     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $0.00
           ZAREN, ROBERT T                                                    Contingent
           POST OFFICE BOX 955                                                Unliquidated
           COULEE, WA 99115                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.573     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $0.00
           ZIEGLER, CHRISTOPHER G                                             Contingent
           18421 N BOSTON ROAD                                                Unliquidated
           COLBERT, WA 99005                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.574     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                        $0.00
           ZIESKE, DALENE R                                                   Contingent
           P O BOX 724                                                        Unliquidated
           NEWPORT, WA 99156                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                      related creditor (if any) listed?                 account number, if
                                                                                                                                                        any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.    +   $                   21,134,201.28

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      21,134,201.28




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 Fill in this information to identify the case:

 Debtor name         Ponderay Newsprint Company

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)         20-01309
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.         State what the contract or                  Service and Support
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining                                           Aldata Software Management
                                                                                     211 Pembina Ave, Suite 203
              List the contract number of any                                        Hinton, AV T7V 2B3, Canada
                    government contract


 2.2.         State what the contract or                  Software License
              lease is for and the nature of              Agreement
              the debtor's interest

                  State the term remaining
                                                                                     Aspen Technology, Inc
              List the contract number of any                                        20 Crosby Drive
                    government contract                                              Bedford, MA 01730


 2.3.         State what the contract or                  Supply Agreement
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     Asten Johnson
              List the contract number of any                                        4339 Corporate RD
                    government contract                                              North Charleston, SC 29405


 2.4.         State what the contract or                  Supply Agreement
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                     BASF Corporation
              List the contract number of any                                        100 Park Ave
                    government contract                                              Florham Park, NJ 07932




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 Debtor 1 Ponderay Newsprint Company                                                         Case number (if known)   20-01309
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Warehousing
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     BSP Warehousing & Distribution, Inc
             List the contract number of any                                         11430 Ferrell Drive #600
                   government contract                                               Dallas, TX 75234


 2.6.        State what the contract or                   Supply Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Buckman
             List the contract number of any                                         1256 North McLean Blvd
                   government contract                                               Memphis, TN 38108


 2.7.        State what the contract or                   Warehousing
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Cal Cargo
             List the contract number of any                                         2816 W. Winton Ave
                   government contract                                               Hayward, CA 94546


 2.8.        State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Canon Solutions America, Inc
             List the contract number of any                                         10102 E. Knox Avenue- Suite 400
                   government contract                                               Spokane, WA 99206


 2.9.        State what the contract or                   Supply Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Cascades Sonoco
             List the contract number of any                                         1 North Second Street
                   government contract                                               Hartsville, SC 29550


 2.10.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                           Cintas Corp
                                                                                     3808 N. Sullivan RD BLDG N-1
             List the contract number of any                                         Spokane, WA 99212
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                    Page 2 of 8
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 Debtor 1 Ponderay Newsprint Company                                                          Case number (if known)   20-01309
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

                    government contract


 2.11.       State what the contract or                   Contract to support our
             lease is for and the nature of               JDE financial system.
             the debtor's interest

                  State the term remaining                                            CSS International, Inc.
                                                                                      Attn: Todd Griffith
             List the contract number of any                                          115 River Landing Drive
                   government contract                                                Charleston, SC 29492


 2.12.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                            Ediwise
                                                                                      690 Dorval Drive, Suite 425
             List the contract number of any                                          Oakville, ON Canada
                   government contract


 2.13.       State what the contract or                   Service and Support
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                      Exbabylong LLC
             List the contract number of any                                          204 Walnut St
                   government contract                                                Newport, WA 99156


 2.14.       State what the contract or                   Warehousing
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                      Freeport Distribution
             List the contract number of any                                          PO Box 6628
                   government contract                                                Phoenix, AZ 85005


 2.15.       State what the contract or                   Supply Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Graymont
             List the contract number of any                                          585 W Southridge Way
                   government contract                                                Sandy, UT 84070


 2.16.       State what the contract or                   Licensing and support
             lease is for and the nature of                                           Honeywell
             the debtor's interest                                                    1280 Meadow Drive
                                                                                      Cincinnati, OH 45240
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                     Page 3 of 8
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 Debtor 1 Ponderay Newsprint Company                                                         Case number (if known)   20-01309
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.17.       State what the contract or                   Support Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     HPE throug Insight Direct USA
             List the contract number of any                                         6820 Harl Ave S Tempe
                   government contract                                               Tempe, AZ 85283


 2.18.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Intellitrans
             List the contract number of any                                         133 Peachtree St NE Suite 3050
                   government contract                                               Atlanta, GA 30303


 2.19.       State what the contract or                   Supply Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     International Raw Materials LTD
             List the contract number of any                                         150 S. Independence Mall W STE 700
                   government contract                                               Philadelphia, PA 19106


 2.20.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Metro Park Warehouses, Inc.
             List the contract number of any                                         6920 Executive Drive
                   government contract                                               Fence, WI 54120


 2.21.       State what the contract or                   Warehousing
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Pacific Terminals LTD.
             List the contract number of any                                         3480 W. Marginal S.W.
                   government contract                                               Seattle, WA 98106




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 Debtor 1 Ponderay Newsprint Company                                                             Case number (if known)   20-01309
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.22.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                               Papex
                                                                                         230 Watline Av,
             List the contract number of any                                             Mississauga, Ontarion L4Z 1P4
                   government contract


 2.23.       State what the contract or                   On-Site Chipping
             lease is for and the nature of               Services Agreement
             the debtor's interest

                  State the term remaining
                                                                                         Plummer Forest Products
             List the contract number of any                                             401 N Potlatch Rd
                   government contract                                                   Post Falls, ID 83854


 2.24.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                         POVA
             List the contract number of any                                             1981 Black Rd
                   government contract                                                   Usk, WA 99180


 2.25.       State what the contract or                   July 10, 1986 Fiber Mill
             lease is for and the nature of               Power Sales Contract,,
             the debtor's interest                        as amended.

                  State the term remaining                                               Public Uitlity District No. 1
                                                                                         Pend Oreille County
             List the contract number of any                                             130 N. Washington
                   government contract                                                   Newport, WA 99156


 2.26.       State what the contract or                   July 10, 1986 Paper
             lease is for and the nature of               Plant Power Sales
             the debtor's interest                        Contract, as amended.

                  State the term remaining                                               Public Uitlity District No. 1
                                                                                         Pend Oreille County
             List the contract number of any                                             130 N. Washington
                   government contract                                                   Newport, WA 99156


 2.27.       State what the contract or                   February 6, 2018
             lease is for and the nature of               Settlement Agreement
             the debtor's interest                        and Release
                                                                                         Public Uitlity District No. 1
                  State the term remaining                                               Pend Oreille County
                                                                                         130 N. Washington
             List the contract number of any                                             Newport, WA 99156
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 Debtor 1 Ponderay Newsprint Company                                                         Case number (if known)   20-01309
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract


 2.28.       State what the contract or                   Serrvice Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     RMIS
             List the contract number of any                                         5388 Sterling Center Drive
                   government contract                                               Westlake Village, CA 91361


 2.29.       State what the contract or                   Supply Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Sonoco
             List the contract number of any                                         1 North Second Street
                   government contract                                               Hartsville, SC 29550


 2.30.       State what the contract or                   Warehousing
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                     Stagecoach Cartage & Distribution,
             List the contract number of any                                         7167 Chino
                   government contract                                               El Paso, TX 79915


 2.31.       State what the contract or                   Sevice Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     State Protection Services INC
             List the contract number of any                                         7011 E. Trent Ave. Suite 102
                   government contract                                               Spokane, WA 99212


 2.32.       State what the contract or                   Support Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                     Trinoor LLC
             List the contract number of any                                         125 Church St. Suite 100
                   government contract                                               Marietta, GA 30060


 2.33.       State what the contract or                   Service Agreement
             lease is for and the nature of                                          Valmet
             the debtor's interest                                                   2425 Commercial Ave
                                                                                     Winamac, IN 46996
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 Debtor 1 Ponderay Newsprint Company                                                            Case number (if known)   20-01309
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                  State the term remaining

             List the contract number of any
                   government contract


 2.34.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Valmet
             List the contract number of any                                            1280 Willowbrook
                   government contract                                                  Beloit, WI 53511


 2.35.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Visionary BroadBand
             List the contract number of any                                            101 S Douglas Hwy STE 201
                   government contract                                                  Gillette, WY 82716


 2.36.       State what the contract or                   Collective Bargaining
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining
                                                                                        Western Pulp Paper Workers AWPPW
             List the contract number of any                                            1430 SW Clay St,
                   government contract                                                  Portland, OR 97201


 2.37.       State what the contract or                   Warehousing
             lease is for and the nature of               Agreements with
             the debtor's interest                        WSI - Glendale
                                                          WSI - Pomona-
                                                          Southwest Offset
                                                          Gardena
                                                          WSI - Pomona- Press
                                                          Enterprises - Riverside
                  State the term remaining
                                                                                        WSI
             List the contract number of any                                            1160 North Mayflower Drive
                   government contract                                                  Appleton, WI 54913


 2.38.       State what the contract or                   Service Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              Xerox Corporation
                                                                                        P. O. Box 827598
             List the contract number of any                                            Philadelphia, PA 19182
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 7 of 8
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 Debtor 1 Ponderay Newsprint Company                                                         Case number (if known)   20-01309
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

                    government contract




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 Fill in this information to identify the case:

 Debtor name         Ponderay Newsprint Company

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)         20-01309
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Ponderay Newsprint Company

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF WASHINGTON

 Case number (if known)         20-01309
                                                                                                                                    Check if this is an
                                                                                                                                       amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                   04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                      Gross revenue
       which may be a calendar year                                                            Check all that apply                    (before deductions and
                                                                                                                                       exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                        $33,312,585.00
       From 1/01/2020 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                       $127,509,047.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other


       For year before that:                                                                    Operating a business                       $146,046,611.00
       From 1/01/2018 to 12/31/2018
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue       Gross revenue from
                                                                                                                                       each source
                                                                                                                                       (before deductions and
                                                                                                                                       exclusions)

       For prior year:
       From 1/01/2019 to 12/31/2019                                                            Interest on restricted cash                       $215,000.00


       For year before that:
       From 1/01/2018 to 12/31/2018                                                            Interest on restricted cash                        $62,382.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
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 Debtor       Ponderay Newsprint Company                                                                Case number (if known) 20-01309




       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               See attached list                                                                                   $0.00        Secured debt
                                                                                                                                Unsecured loan repayments
                                                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor
       4.1.    Lake Superior Forest Products Inc.                                                        $1,379,029.00         Mgt fees, sales commissions
               111 Robert-Bourassa Blvd.                                                                                       and Transition service fees
               Montreal, Quebec, H3C 2M1, Canada                                                                               $843,159.00
               Former General Partner                                                                                          Legal Fee reimbursements
                                                                                                                               $535,870.00

       4.2.    Wingate Paper Company                                                                        $35,710.67         Payee: McClatchy Properties
               Van C. Durrer, II                                                                                               Legal Fee reimbursements
               Skadden Arps Slate Meagher & Flom
               300 S. Grand Ave #3400
               Los Angeles, CA 90071
               Former General Partner

       4.3.    MNG Paper Company LLC                                                                        $35,708.67         Legal Fee reimbursements
               c/o Lisa G. Beckerman
               Akin Gump Strauss Hauer & Feld
               One Bryant Park
               New York, NY 10036
               General Partner

       4.4.    Indiana Newspapers LLC                                                                       $35,708.67         Legal Fee reimbursements
               c/o Nancy A. Peterman
               Greenberg Taurig
               77 W. Wacker Drive
               Chicago, IL 60601
               General Partner

       4.5.    Myron Johnson                                                                               $548,233.00         Wages and Severance per best
               422767 WA-20                                                                                                    estimate due to inability to
               Usk, WA 99180                                                                                                   immediately access information
               President                                                                                                       from prior payroll service

       4.6.    Steve Wood                                                                                  $213,040.00         Wages and Severance
               422767 WA-20
               Usk, WA 99180
               Chief Financial Officer

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.


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 Debtor      Ponderay Newsprint Company                                                                    Case number (if known) 20-01309



       None
       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                       Nature of case               Court or agency's name and               Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                     Description of the gifts or contributions                Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None
       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss             Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.



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                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.1.     Bush Kornfeld LLP
                 601 Union St., #5000
                 Seattle, WA 98101-2373                                                                                        06/25/2020             $60,000.00

                 Email or website address
                 bskd.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
       Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
       Yes. State the nature of the information collected and retained.
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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Ponderay Pension                                                                           EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                Financial Institution name and                  Last 4 digits of          Type of account or          Date account was            Last balance
                Address                                         account number            instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       K&N Electric                                                  Myron Johnson                        electric motors, bushings,            No
       415 Francher North                                                                                 magnets                               Yes
       Spokane, WA 99210

       Valmet Inc.                                                   Myron Johnson                        sensors and refiner plates            No
       2425 Commerece Ave NW Suite 100                                                                                                          Yes
       Duluth, GA 30096



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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 Debtor      Ponderay Newsprint Company                                                                 Case number (if known) 20-01309




21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

       No.
           Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address
       No Case Title.                                                Washington Department                Notice of Violation and civil       Pending
       Notice of Penalty, violating RCW                              of Ecology                           penalty for operation of an         On appeal
       chapter 70.94                                                 4601 N. Monroe Street                unpermitted stationary              Concluded
       Docket # 13716                                                Spokane, WA 99205                    internal combustion engine.

       No Case Title.                                                Washington Department                Notice of violation was issued      Pending
       Notice of Violation No. 03AQER-5048                           of Ecology                           because it was determined           On appeal
                                                                     4601 N. Monroe St.                   (based on boiler source             Concluded
                                                                     Spokane, WA 99205                    testing April 16, 2002
                                                                                                          measuring NOx and PM10
                                                                                                          emissions) the facility to be a
                                                                                                          major source subject to the
                                                                                                          title V program.

       No Case Title.                                                Washington Department                Notice of Violation No. 3975,       Pending
       Potential to Emit (PTE) for VOC was                           of Ecology                           and Settlement Agreement            On appeal
       greater than 100 tons per year                                4601 N. Monroe St.                   and Agreed Order No. 3996.          Concluded
       Notice of Violation                                           Spokane, WA 99205                    Violations identified were
                                                                                                          operation of the facility after
                                                                                                          the time the date required for
                                                                                                          submittal of a complete AOP
                                                                                                          application, failure to submit
                                                                                                          a timely AOP application, and
                                                                                                          exceeding the VOC emission
                                                                                                          limitation in Air Order
                                                                                                          (permit).


23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
       Yes. Provide details below.



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 Debtor      Ponderay Newsprint Company                                                                 Case number (if known) 20-01309



       Site name and address                                         Governmental unit name and               Environmental law, if known   Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

       No.
           Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known   Date of notice
                                                                     address
       Ponderay Newsprint Co.                                        Washington Dept. of                      Descripton of Notice          1/16/2020
       422767 Hwy 20                                                 Ecology                                  Sanitary liftstation
       Usk, WA 99180                                                 4601 N. Monroe St.                       overflow at WWT. Sanitary
                                                                     Spokane, WA 99205                        wastewater overflow onto
                                                                                                              the ground of
                                                                                                              approximately 20 gallons
                                                                                                              * Notice also given to WA
                                                                                                              State Department of Health

       Ponderay Newsprint Co.                                        Washington Dept. of                      Descripton of Notice          6/26/2019
       422767 Hwy 20                                                 Ecology                                  Diesel fuel spill (40-50
       Usk, WA 99180                                                 4601 N. Monroe St.                       gallons) from Big Sky
                                                                     Spokane, WA 99205                        (contrator) pump truck
                                                                                                              that occurred just south of
                                                                                                              WWT building.
                                                                                                              * Notice also given to
                                                                                                              National Response Center

       Ponderay Newsprint Co.                                        Washington Dept. of                      Descripton of Notice          6/28/2018
       422767 Hwy 20                                                 Ecology                                  Appoximately 1,000
       Usk, WA 99180                                                 4601 N. Monroe St.                       gallons of mill whitewater
                                                                     Spokane, WA 99205                        (process water with small
                                                                                                              amount of pulp fiber)
                                                                                                              overflowed into the
                                                                                                              stormwater channel.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Descripton of Notice          10/6/2017
       422767 Hwy 20                                                 Ecology                                  Estimated to be 50 gallons
       Usk, WA 99180                                                 4601 N. Monroe St.                       of mill whitewater
                                                                     Spokane, WA 99205                        (process water with small
                                                                                                              amount of pulp fiber)
                                                                                                              during the process of
                                                                                                              restarting.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Descripton of Notice          9/29/2017
       422767 Hwy 20                                                 Ecology                                  Diesel fuel spill (40-50
       Usk, WA 99180                                                 4601 N. Monroe St.                       gallons) from Big Sky
                                                                     Spokane, WA 99205                        (contrator) pump truck
                                                                                                              that occurred just south of
                                                                                                              WWT building.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Descripton of Notice          9/27/2017
       422767 Hwy 20                                                 Ecology                                  150 gallons of mill
       Usk, WA 99180                                                 4601 N. Monroe St.                       whitewater (process water
                                                                     Spokane, WA 99205                        with small amount of pulp
                                                                                                              fiber) overflowed while the
                                                                                                              mill was in the process of
                                                                                                              restarting production




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       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address
       Ponderay Newsprint Co.                                        Washington Dept. of                      Descripton of Notice           6/23/2017
       422767 Hwy 20                                                 Ecology                                  Sanitary liftstation
       Usk, WA 99180                                                 4601 N. Monroe St.                       overflow at WWT. Sanitary
                                                                     Spokane, WA 99205                        wastewater overflow onto
                                                                                                              the ground of
                                                                                                              approximately 40 gallons.
                                                                                                              * Notice also given to WA
                                                                                                              State Department of Health

       Ponderay Newsprint Co.                                        Washington Dept. of                      Descripton of Notice           6/9/2017
       422767 Hwy 20                                                 Ecology                                  Process water overflow
       Usk, WA 99180                                                 4601 N. Monroe St.                       onto 3rd street and into
                                                                     Spokane, WA 99205                        stormwater ditch.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Descripton of Notice           4/27/2016
       422767 Hwy 20                                                 Ecology                                  Approx. 500 gallons
       Usk, WA 99180                                                 4601 N. Monroe St.                       process water overflow
                                                                     Spokane, WA 99205                        during startup.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          2/18/2016
       422767 Hwy 20                                                 Ecology                                  Approximately 1-3 gallons
       Usk, WA 99180                                                 4601 N. Monroe St.                       of the caustic solution to
                                                                     Spokane, WA 99205                        the effluent water. Final
                                                                                                              effluent pH elevated to a
                                                                                                              peak point of 11.09. The
                                                                                                              final effluent pH exceeded
                                                                                                              the permit threshold of 9.0
                                                                                                              for 12 minutes and
                                                                                                              exceeded the permit limit
                                                                                                              of 10.0 for 8 minutes.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          8/13/2014
       422767 Hwy 20                                                 Ecology                                  Approximately 100 gallons
       Usk, WA 99180                                                 4601 N. Monroe St.                       of partially treated mill
                                                                     Spokane, WA 99205                        effluent splashed out of
                                                                                                              the Sulfite Aeration
                                                                                                              Cooling (SAC) when
                                                                                                              subsurface blower air
                                                                                                              piping failed

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          7/14/2014
       422767 Hwy 20                                                 Ecology                                  Approximately 150 gallons
       Usk, WA 99180                                                 4601 N. Monroe St.                       of effluent spilled out of a
                                                                     Spokane, WA 99205                        hole that formed in the top
                                                                                                              of the primary clarifier
                                                                                                              outfall pipe

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          11/22/2013
       422767 Hwy 20                                                 Ecology                                  WWT PRC Process
       Usk, WA 99180                                                 4601 N. Monroe St.                       overflow
                                                                     Spokane, WA 99205




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       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address
       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          7/30/2013
       422767 Hwy 20                                                 Ecology                                  Spill < 1000 gallons of
       Usk, WA 99180                                                 4601 N. Monroe St.                       either treated mill effluent
                                                                     Spokane, WA 99205                        or diluted activated sludge
                                                                                                              on the gravel between the
                                                                                                              two secondary clarifiers
                                                                                                              and between the lift
                                                                                                              station and storm sump.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          1/10/2013
       422767 Hwy 20                                                 Ecology                                  Overflow of approximately
       Usk, WA 99180                                                 4601 N. Monroe St.                       about 2,000 gallons of
                                                                     Spokane, WA 99205                        treated effluent from the
                                                                                                              lagoon.
                                                                                                              * Notice also given to WA
                                                                                                              Emergency Response
                                                                                                              Center

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          11/21/2012
       422767 Hwy 20                                                 Ecology                                  Lubricating oil in the
       Usk, WA 99180                                                 4601 N. Monroe St.                       drainage ditch West of the
                                                                     Spokane, WA 99205                        paper machine building.
                                                                                                              * Notice also given to WA
                                                                                                              Emergency Response
                                                                                                              Center and National
                                                                                                              Response Center

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          10/13/2012
       422767 Hwy 20                                                 Ecology                                  Sanitary sewer sump
       Usk, WA 99180                                                 4601 N. Monroe St.                       overflow by the water
                                                                     Spokane, WA 99205                        treatment building.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          7/14/2012
       422767 Hwy 20                                                 Ecology                                  1000 – 2000 gallons of
       Usk, WA 99180                                                 4601 N. Monroe St.                       treated final effluent and
                                                                     Spokane, WA 99205                        secondary sludge while
                                                                                                              draining secondary
                                                                                                              clarifier #2

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          6/20/2012
       422767 Hwy 20                                                 Ecology                                  500 – 1000 gallons of
       Usk, WA 99180                                                 4601 N. Monroe St.                       treated final effluent on
                                                                     Spokane, WA 99205                        between due to the failure
                                                                                                              of a level indicator at WWT

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          5/16/2006
       422767 Hwy 20                                                 Ecology                                  100-500 gallons process
       Usk, WA 99180                                                 4601 N. Monroe St.                       water overflow during
                                                                     Spokane, WA 99205                        startup of papermachine.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice          5/12/2006
       422767 Hwy 20                                                 Ecology                                  100-500 gallons process
       Usk, WA 99180                                                 4601 N. Monroe St.                       water overflow during
                                                                     Spokane, WA 99205                        startup of papermachine.




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       Site name and address                                         Governmental unit name and               Environmental law, if known   Date of notice
                                                                     address
       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice         8/3/2005
       422767 Hwy 20                                                 Ecology                                  100 gallons process water
       Usk, WA 99180                                                 4601 N. Monroe St.                       overflow during startup.
                                                                     Spokane, WA 99205

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice         6/15/2005
       422767 Hwy 20                                                 Ecology                                  Godon Trucking semi
       Usk, WA 99180                                                 4601 N. Monroe St.                       punctured a saddle tank
                                                                     Spokane, WA 99205                        on our property on 6/15,
                                                                                                              releasing approximately 60
                                                                                                              gallons of diesel fuel to
                                                                                                              the ground.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice         5/24/2005
       422767 Hwy 20                                                 Ecology                                  100-500 gallons process
       Usk, WA 99180                                                 4601 N. Monroe St.                       water overflow during
                                                                     Spokane, WA 99205                        startup.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice         4/21/2005
       422767 Hwy 20                                                 Ecology                                  Process water spull from
       Usk, WA 99180                                                 4601 N. Monroe St.                       corroded underground
                                                                     Spokane, WA 99205                        line.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice         10/7/2004
       422767 Hwy 20                                                 Ecology                                  200 gallons process water
       Usk, WA 99180                                                 4601 N. Monroe St.                       overflow during startup of
                                                                     Spokane, WA 99205                        papermachine.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice         6/16/2003
       422767 Hwy 20                                                 Ecology                                  Process water spill at
       Usk, WA 99180                                                 4601 N. Monroe St.                       water treatment.
                                                                     Spokane, WA 99205

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice         6/24/2002
       422767 Hwy 20                                                 Ecology                                  75 gallons of a mixture of
       Usk, WA 99180                                                 4601 N. Monroe St.                       process and mill water
                                                                     Spokane, WA 99205                        flowed across the parking
                                                                                                              lot and into a stormwater
                                                                                                              ditch which drains into a
                                                                                                              field across the highway
                                                                                                              from pulp tank
                                                                                                              overflowing during a
                                                                                                              process upset.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice         5/16/2001
       422767 Hwy 20                                                 Ecology                                  Appox. 300 gallons of
       Usk, WA 99180                                                 4601 N. Monroe St.                       process water overflowed
                                                                     Spokane, WA 99205                        during startup of paper
                                                                                                              machine.

       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice         5/17/1999
       422767 Hwy 20                                                 Ecology                                  Approximately 500 gallons
       Usk, WA 99180                                                 4601 N. Monroe St.                       of process water
                                                                     Spokane, WA 99205                        overflowed during the
                                                                                                              process of shutting down
                                                                                                              the mill for an extended
                                                                                                              (approx. 60 hours) outage.



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       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address
       Ponderay Newsprint Co.                                        Washington Dept. of                      Description of Notice                     11/28/1997
       422767 Hwy 20                                                 Ecology                                  Effluent was backed up
       Usk, WA 99180                                                 4601 N. Monroe St.                       and came out a manhole
                                                                     Spokane, WA 99205                        Southwest of the lift
                                                                                                              station.


 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Steve Wood                                                                                                                 August 2012-June
                    422767 Hwy 20                                                                                                              2020
                    Usk, WA 99180
       26a.2.       Garcy Girnus                                                                                                               October 2011-June
                    422767 Hwy 20                                                                                                              2020
                    Usk, WA 99180

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       BDO USA
                    601 W. Riverside Ave
                    Spokane, WA 99201

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Steve Wood
                    422767 Hwy 20
                    Usk, WA 99180
       26c.2.       Garcy Girnus
                    422767 Hwy 20
                    Usk, WA 99180




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       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.3.       BDO USA
                    601 Riverside Ave.
                    Suite 900
                    Spokane, WA 99201

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address
       26d.1.  Resolute Forest Products
                    111 Robert-Bourassa Blvd.
                    Montreal, Quebec, H3C 2M1, Canada
       26d.2.       McClatchy
                    Skadden Arps Slate Meagher
                    300 S. Grand Ave., Ste. 3400
                    Los Angeles, CA 90071
       26d.3.       Gannett
                    7950 Jones Branch Drive
                    Mc Lean, VA 22107
       26d.4.       Media News
                    c/o Lisa G. Beckerman
                    Akin GUmp Strauss Hauer & Feld
                    One Bryant Park
                    New York, NY 10036
       26d.5.       Capital One NA
                    P.O. Box 6002
                    New Orleans, LA 70160
       26d.6.       AMAG Credit



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

       No
           Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory
       27.1 Dependant upon department                                                                                Net Book Value
       .                                                                                                             Raw materials inventory $1,679,000.00
                                                                                                                     Work in progress inventory $
                                                                                                                     54,000.00
                                                                                            May 30, 2020             Finished good inventory $1,651,000.00

                Name and address of the person who has possession of
                inventory records
                Ponderay Newsprint Co.
                422767 Hwy 20
                Usk, WA 99180


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.


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       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Myron L. Johnson                                                                                   President


       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Steve Wood                                                                                         Chief Financial Officer


       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       MNG Paper Company, LLC                         c/o Lisa G. Beckerman                               General Partner
                                                      Akin Gump Strauss Hauer & Feld
                                                      One Bryant Park
                                                      New York, NY 10036
       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Indiana Newspapers LLC                         c/o Nancy A. Peterman                               General Partner
                                                      Greenberg Traurig
                                                      77 W. Wacker Drive
                                                      Chicago, IL 60601


29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Lake Superior Forest                           Richard Tremblay, Vice President                    General Partner                 September 12,
       Products, Inc.                                 111 Robert-Bourassa Blvd.                                                           1985
                                                      Montreal, Quebec, H3C 2M1, Canada                                                   May 8, 2020
                                                                                                                                          Notice of
                                                                                                                                          Withdrawal From
                                                                                                                                          Partnership




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       Name                                           Address                                             Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Tribune Newsprint                              Van C. Durrer, II                                   General Partner 13.5%           September 12,
       Company                                        Skadden Arps Slate Meagher                                                          1985
                                                      300 S. Grand Ave., Ste. 3400                                                        April 30, 2020
                                                      Los Angeles, CA 90071                                                               Order Authorizing
                                                                                                                                          Rejection of
                                                                                                                                          Partnership
                                                                                                                                          Agreement and
                                                                                                                                          Abandonment of
                                                                                                                                          Partnership
                                                                                                                                          Interests in
                                                                                                                                          Ponderay
                                                                                                                                          Newsprint
                                                                                                                                          Company, In re
                                                                                                                                          The McClatchy
                                                                                                                                          Company et al,
                                                                                                                                          Chapter 11 United
                                                                                                                                          States Bankruptcy
                                                                                                                                          Court for the
                                                                                                                                          Southern District
                                                                                                                                          of New York, Case
                                                                                                                                          No. 20-10418.
       Name                                           Address                                             Position and nature of any      Period during which
                                                                                                          interest                        position or interest
                                                                                                                                          was held
       Newsprint Ventures Inc.                        Van C. Durrer, II                                   General Partner 10%             September 12,
                                                      Skadden Arps Slate Meagher                                                          1985
                                                      300 S. Grand Ave., Ste. 3400                                                        April 30, 2020
                                                      Los Angeles, CA 90071                                                               Order Authorizing
                                                                                                                                          Rejection of
                                                                                                                                          Partnership
                                                                                                                                          Agreement and
                                                                                                                                          Abandonment of
                                                                                                                                          Partnership
                                                                                                                                          Interests in
                                                                                                                                          Ponderay
                                                                                                                                          Newsprint
                                                                                                                                          Company, In re
                                                                                                                                          The McClatchy
                                                                                                                                          Company et al,
                                                                                                                                          Chapter 11 United
                                                                                                                                          States Bankruptcy
                                                                                                                                          Court for the
                                                                                                                                          Southern District
                                                                                                                                          of New York, Case
                                                                                                                                          No. 20-10418.




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       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Wingate Paper Company                          Van C. Durrer, II                                   General Partner 3.5%             September 12,
                                                      Skadden Arps Slate Meagher                                                           1985
                                                      300 S. Grand Ave., Ste. 3400                                                         April 30, 2020
                                                      Los Angeles, CA 90071                                                                Order Authorizing
                                                                                                                                           Rejection of
                                                                                                                                           Partnership
                                                                                                                                           Agreement and
                                                                                                                                           Abandonment of
                                                                                                                                           Partnership
                                                                                                                                           Interests in
                                                                                                                                           Ponderay
                                                                                                                                           Newsprint
                                                                                                                                           Company, In re
                                                                                                                                           The McClatchy
                                                                                                                                           Company et al,
                                                                                                                                           Chapter 11 United
                                                                                                                                           States Bankruptcy
                                                                                                                                           Court for the
                                                                                                                                           Southern District
                                                                                                                                           of New York, Case
                                                                                                                                           No. 20-10418.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

       No
           Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 See answers to SOFA
       .    Question 4.


               Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

       No
           Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation
    Ponderay Newsprint                                                                                         EIN:        XX-XXXXXXX




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 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 29, 2020

 /s/ Myron L. Johnson                                                   Myron L. Johnson
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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                                                                     Source of information
                                                                     JDE Cash account 140.11110.5292
                                                                     Time period 04/26/2020 to 06/26

 PUBLIC UTILITY DISTRICT                    (3,184,247.82)           Suppliers or Vendors
   5/1/2020                                       (469.50)
   5/8/2020                                       (862.82)
   5/11/2020                                (1,058,181.61)
   5/21/2020                                (1,059,084.83)
   5/29/2020                                        (0.05)
   6/9/2020                                 (1,065,649.01)
 AMERICAN AGCREDIT                          (1,019,941.24)           Secured Debt and Interest
   5/1/2020                                     (3,157.98)
   5/8/2020                                 (1,008,631.69)
   6/4/2020                                       (848.90)
   6/9/2020                                     (7,302.67)
 POTLATCHDELTIC LAND & LUMBER,                (817,665.00)           Suppliers or Vendors
   5/1/2020                                   (215,114.02)
   5/29/2020                                  (282,944.39)
   6/11/2020                                  (319,606.59)
 FIDELITY INVESTMENTS                         (780,852.28)           Services 401k Plan
   5/1/2020                                   (119,032.24)
   6/26/2020                                   (40,000.00)
   6/25/2020                                  (621,820.04)
 Burlington Northern Sante Fe R               (740,992.09)           Suppliers or Vendors
   5/1/2020                                   (552,019.04)
   5/31/2020                                  (188,973.05)
 BUCKMAN LABORATORIES INC.                    (381,578.79)           Suppliers or Vendors
   5/1/2020                                    (87,464.64)
   5/6/2020                                    (99,954.65)
   5/22/2020                                   (56,382.98)
   5/29/2020                                   (90,197.95)
   6/2/2020                                    (47,578.57)
 IDAHO FOREST GROUP                           (346,978.44)           Suppliers or Vendors
   5/1/2020                                   (121,750.30)
   5/29/2020                                  (205,084.94)
   6/4/2020                                    (20,143.20)
 CASCADES SONOCO INC                          (323,807.17)           Suppliers or Vendors
   5/6/2020                                    (69,346.13)
   5/29/2020                                  (126,989.99)
   6/2/2020                                    (43,543.88)
   6/4/2020                                    (41,516.62)
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    6/9/2020                                    (42,410.55)
 C. H. Robinson                                (321,365.56)          Suppliers or Vendors
    5/1/2020                                   (321,365.56)
 UNITED HEALTHCARE INSURANCE CO                (307,774.20)          Services (Medical Insurance)
    5/1/2020                                   (109,220.37)
    6/2/2020                                   (105,155.89)
    6/26/2020                                   (93,397.94)
 PEND OREILLE COUNTY TREASURER                 (300,284.20)          Other (Property Taxes)
    4/29/2020                                  (300,284.20)
 QUAD GRAPHICS (PARENT)                        (274,762.68)          Other (Customer Rebates)
    5/1/2020                                   (274,762.68)
 ASCENSUS SPECIALTIES LLC                      (217,510.94)          Suppliers or Vendors
    4/28/2020                                   (48,640.94)
    5/1/2020                                    (56,625.41)
    5/29/2020                                   (56,444.61)
    6/4/2020                                    (55,799.98)
 Crete Carrier Corporation                     (213,708.85)          Suppliers or Vendors
    5/31/2020                                  (213,708.85)
 FPRS wire payments                            (206,871.15)          Services 401k Plan
    4/30/2020                                  (206,871.15)
 ALBANY INTERNATIONAL CORP                     (138,373.60)          Suppliers or Vendors
    5/29/2020                                   (63,839.08)
    6/2/2020                                    (74,534.52)
 VALMET, INC.                                  (133,809.78)          Suppliers or Vendors
    5/1/2020                                    (18,998.72)
    5/6/2020                                    (34,138.10)
    5/8/2020                                       (908.16)
    5/29/2020                                   (77,737.80)
    6/9/2020                                     (2,027.00)
 PLUMMER FOREST PRODUCTS INC                   (128,008.29)          Suppliers or Vendors
    5/8/2020                                    (80,894.02)
    5/29/2020                                   (47,114.27)
 CSS INTERNATIONAL, INC.                       (125,658.04)          OTHER (Software investment JDE 9.2(
    5/22/2020                                   (30,000.00)
    6/2/2020                                    (95,658.04)
 FPRS Hrly and Sal 05/31                       (121,995.05)          Services 401k Plan
    5/29/2020                                  (121,995.05)
 CITY SERVICE VALCON                           (110,845.44)          Suppliers or Vendors
    5/1/2020                                       (457.66)
    5/6/2020                                    (11,149.75)
    5/8/2020                                       (757.68)
    5/29/2020                                   (34,490.90)
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   6/4/2020                                     (34,368.80)
   6/9/2020                                     (29,620.65)
 REHN & ASSOCIATES                             (101,060.78)          Services (Employee Health Savings Acco
   4/28/2020                                        (50.00)
   5/1/2020                                      (7,853.32)
   5/6/2020                                     (13,276.83)
   5/29/2020                                    (13,016.24)
   6/2/2020                                     (18,986.33)
   6/26/2020                                    (47,878.06)
 STATE PROTECTION SERVICES INC                  (94,532.46)          Services (Security)
   5/1/2020                                     (36,967.34)
   6/11/2020                                    (18,403.50)
   6/17/2020                                    (19,416.43)
   6/26/2020                                    (19,745.19)
 HONEYWELL INTERNATIONAL INC.                   (92,499.70)          Other (Capital ‐ new ERP System)
   5/29/2020                                    (92,499.70)
 SONOCO PRODUCTS CO                             (84,760.03)          Suppliers or Vendors
   4/28/2020                                    (29,186.10)
   5/1/2020                                      (9,194.87)
   5/4/2020                                      (3,559.45)
   5/8/2020                                     (17,078.36)
   5/29/2020                                    (25,741.25)
 FREEPORT LOGISTICS INC                         (72,086.13)          Services (Warehouses)
   4/28/2020                                    (24,559.94)
   5/1/2020                                        (389.25)
   5/29/2020                                     (6,486.08)
   6/4/2020                                     (10,163.97)
   6/9/2020                                      (4,712.60)
   6/11/2020                                    (25,774.29)
 BDO SEIDMAN LLP                                (71,500.00)          Services (Accounting/Auditing)
   5/22/2020                                    (71,500.00)
 IDAHO FOREST GROUP LLC                         (68,840.01)          Suppliers or Vendors
   5/1/2020                                     (61,834.80)
   5/29/2020                                     (7,005.21)
 FPRS hourly 5/17 pr                            (68,524.80)          Services 401k Plan
   5/26/2020                                    (68,524.80)
 Pend Oreille Valley Railroad                   (64,242.10)          Suppliers or Vendors
   5/11/2020                                    (50,400.00)
   5/29/2020                                    (12,472.85)
   6/11/2020                                     (1,369.25)
 SPENCER JOHNSTON CO.                           (63,187.00)          Suppliers or Vendors
   6/9/2020                                     (63,187.00)
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 VAAGEN BROS LUMBER INC.                       (61,491.89)           Suppliers or Vendors
   5/8/2020                                    (57,230.68)
   6/9/2020                                     (4,261.21)
 BUSH KORNFELD, LLP                            (60,000.00)           Services (Legal)
   6/25/2020                                   (60,000.00)
 ROSEBURG FOREST PRODUCTS CO.                  (58,240.60)           Suppliers or Vendors
   5/8/2020                                    (30,163.10)
   5/29/2020                                   (20,258.70)
   6/9/2020                                     (7,818.80)
 ANDRITZ FABRICS AND ROLLS INC                 (57,332.51)           Suppliers or Vendors
   5/1/2020                                    (57,332.51)
 ASTENJOHNSON ADVANCED FABRICS                 (55,009.25)           Suppliers or Vendors
   5/1/2020                                    (22,538.65)
   5/29/2020                                   (32,470.60)
 INLAND EMPIRE PAPER COMPANY                   (52,020.94)           Suppliers or Vendors
   5/29/2020                                   (38,297.22)
   6/17/2020                                   (13,723.72)
 STIMSON LUMBER COMPANY                        (47,111.13)           Suppliers or Vendors
   5/29/2020                                   (39,256.86)
   6/17/2020                                    (7,854.27)
 KMM SUPPLY CHAIN CONSULTING LL                (46,706.26)           Services (Consulting capitalized for new
   5/22/2020                                   (46,706.26)
 LAKE SUPERIOR FOREST PRODUCTS                 (44,940.41)           Services (Transition Services)
   6/17/2020                                   (44,940.41)
 PACIFIC TERMINALS, INC.                       (44,284.58)           Suppliers or Vendors
   5/6/2020                                     (7,796.85)
   5/29/2020                                   (36,487.73)
 COX NEWSPRINT SUPPLY                          (43,548.09)           Other (Customer Rebates)
   5/2/2020                                    (43,548.09)
 STOEL RIVES, LLP                              (41,044.50)           Services (Legal)
   6/25/2020                                   (41,044.50)
 VIDOVICH FORESTRY CONSULTING I                (40,677.12)           Services
   5/8/2020                                     (6,863.76)
   5/29/2020                                   (25,440.12)
   6/9/2020                                     (8,373.24)
 CITSCORP                                      (39,907.40)           Services
   5/6/2020                                    (39,907.40)
 JHGA REAL ESTATE                              (39,619.24)           Suppliers or Vendors
   5/8/2020                                    (16,447.92)
   5/29/2020                                   (23,171.32)
 INLAND ENVIRONMENTAL RESOURCES                (35,607.86)           Services

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   5/29/2020                                    (8,742.72)
   6/2/2020                                    (18,106.50)
   6/17/2020                                    (8,758.64)
 PEROXYCHEM LLC                                (32,887.12)           Suppliers or Vendors
   4/28/2020                                   (17,658.39)
   5/6/2020                                    (15,228.73)
 CAL CARGO                                     (31,257.53)           Suppliers or Vendors
   4/28/2020                                    (2,493.65)
   5/29/2020                                    (1,878.22)
   6/2/2020                                     (5,798.97)
   6/9/2020                                     (9,744.66)
   6/17/2020                                   (11,342.03)
 CANON FINANCIAL SERVICES, INC.                (29,362.40)           Other (Capital ‐ Xerox machines)
   5/29/2020                                   (29,362.40)
 INTELLITRANS                                  (26,861.50)           Services (Freight auditing)
   5/1/2020                                    (15,000.00)
   5/29/2020                                   (11,861.50)
 ALLAN CRAMER LOGGING, INC                     (26,202.97)           Suppliers or Vendors
   5/8/2020                                     (6,254.87)
   5/29/2020                                   (11,312.43)
   6/9/2020                                     (8,635.67)
 CASSIDY PAPER LLC                             (24,000.00)           Services (Consulting ‐ new market develo
   5/1/2020                                    (12,000.00)
   6/17/2020                                   (12,000.00)
 APPLIED INDUSTRIAL TECHNOLOGIE                (23,762.14)           Suppliers or Vendors
   5/29/2020                                    (5,799.62)
   6/11/2020                                   (17,962.52)
 INDUSTRIAL PREVENTATIVE MAINTE                (21,923.13)           Services
   4/28/2020                                    (6,320.00)
   5/29/2020                                    (5,958.00)
   6/9/2020                                     (9,645.13)
 XEROX CORPORATION                             (21,114.73)           Services
   5/29/2020                                   (21,114.73)
 VOITH SULZER PAPER TECHNOLOGY                 (19,464.00)           Suppliers or Vendors
   5/22/2020                                   (19,464.00)
 DELTA DENTAL OF WASHINGTON                    (18,849.35)           Services (Dental)
   4/28/2020                                   (11,365.32)
   6/4/2020                                     (7,484.03)
 REGEHR LOGGING, INC.                          (18,793.08)           Suppliers or Vendors
   5/8/2020                                    (13,268.52)
   5/29/2020                                    (5,524.56)
 EDIWISE ‐ A DIVISION OF                       (17,240.00)           Suppliers or Vendors
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   5/4/2020                                    (17,240.00)
 COLUMBIA INTERNATIONAL FOREST                 (17,136.35)           Suppliers or Vendors
   6/4/2020                                    (17,136.35)
 LINCOLN FINANCIAL GROUP INS OF                (16,972.83)           Services (Life and Disability)
   5/6/2020                                     (8,523.93)
   5/29/2020                                    (8,448.90)
 JOHN HANCOCK LIFE INS CO USA S                (16,878.20)           Services (Life and Disability)
   5/8/2020                                    (11,552.04)
   5/29/2020                                    (4,351.36)
   6/9/2020                                       (974.80)
 RONALD J. HENTGES                             (16,582.00)           Suppliers or Vendors
   5/8/2020                                     (7,172.00)
   5/29/2020                                    (9,410.00)
 NORTH AMERICAN MECHANICAL SERV                (16,310.00)           Services
   5/6/2020                                    (16,310.00)
 METRO PARK WAREHOUSES, INC.                   (16,091.08)           Services (Warehouses)
   4/28/2020                                    (2,096.24)
   5/1/2020                                     (4,110.62)
   5/29/2020                                    (3,365.82)
   6/17/2020                                    (6,518.40)
 HEXACOMB CORPORATION                          (15,862.72)           Suppliers or Vendors
   5/29/2020                                    (8,807.31)
   6/9/2020                                     (7,055.41)
 SYSTEM GLOBAL TIMBERLANDS CUTC                (15,004.40)           Suppliers or Vendors
   5/29/2020                                   (14,070.00)
   6/9/2020                                       (934.40)
 HT X CUTCO INC.                               (14,604.20)           Suppliers or Vendors
   5/29/2020                                    (8,803.20)
   6/9/2020                                     (5,801.00)
 CUTLER LOGGING                                (14,592.04)           Suppliers or Vendors
   5/8/2020                                     (4,613.72)
   5/29/2020                                    (4,946.66)
   6/9/2020                                     (5,031.66)
 PAPEX INC                                     (13,765.16)           Suppliers or Vendors
   5/4/2020                                     (7,765.16)
   5/29/2020                                    (6,000.00)
 SETH CAMPBELL LOGGING LLC                     (13,585.73)           Suppliers or Vendors
   5/29/2020                                    (4,508.75)
   6/17/2020                                    (9,076.98)
 KESPRY INC.                                   (13,450.00)           Suppliers or Vendors
   6/11/2020                                   (13,450.00)
 JASON HESTER LOGGING                          (13,304.70)           Suppliers or Vendors
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    6/9/2020                                   (13,304.70)
 GREG JOHNSON LOGGING, LLC                     (13,261.59)           Suppliers or Vendors
    5/8/2020                                    (6,177.87)
    5/29/2020                                   (4,831.20)
    6/9/2020                                    (2,252.52)
 AWPPW LOCAL UNION NO. 422                     (13,239.16)           Other (Union Dues)
    5/29/2020                                   (6,609.09)
    6/26/2020                                   (6,630.07)
 ELIZABETH MARIE HUNT                          (13,110.00)           Services (Consulting on ERP System)
    5/29/2020                                   (8,085.00)
    6/11/2020                                   (5,025.00)
 AMERICAN COLLOID COMPANY NW 52                (11,455.78)           Services
    5/29/2020                                  (11,455.78)
 SPRING ENVIRONMENTAL INC                      (11,304.50)           Services
    5/8/2020                                    (1,729.50)
    5/29/2020                                   (6,124.75)
    6/4/2020                                    (3,450.25)
 ALLISON‐BROCK INC                             (10,999.94)           Services
    5/6/2020                                    (2,218.95)
    5/29/2020                                   (2,191.91)
    6/2/2020                                    (2,192.82)
    6/26/2020                                   (4,396.26)
 KONE INC                                      (10,852.88)           Services
    5/1/2020                                      (852.80)
    5/22/2020                                   (9,147.28)
    6/9/2020                                      (852.80)
 SUPPLYFORCE, LLC                              (10,741.55)           Suppliers or Vendors
    5/29/2020                                   (2,063.09)
    6/17/2020                                   (8,678.46)
 OXARC INC                                     (10,431.45)           Suppliers or Vendors
    5/1/2020                                      (422.93)
    5/4/2020                                    (4,172.96)
    5/6/2020                                      (622.58)
    5/8/2020                                      (293.97)
    5/29/2020                                   (4,919.01)
 LIBERTY MUTUAL INSURANCE GROUP                (10,398.30)           Services
    5/29/2020                                  (10,398.30)
 EXBABYLON LLC                                 (10,000.00)           Services
    5/29/2020                                  (10,000.00)
 PULP AND PAPER PRODUCTS COUNCI                 (9,974.40)           Services
    5/1/2020                                    (4,306.23)
    5/6/2020                                    (5,668.17)
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 IDAHO WEST LLC                                (9,778.30)            Suppliers or Vendors
   5/8/2020                                    (2,819.71)
   5/29/2020                                   (3,047.85)
   6/9/2020                                    (3,910.74)
 WAREHOUSE SPECIALISTS, LLC                    (9,505.42)            Services
   5/29/2020                                   (9,505.42)
 SPN CONSULTANTS INC                           (8,850.00)            Services
   6/11/2020                                   (8,850.00)
 WEDGE WOOD PRODUCTS                           (8,778.00)            Suppliers or Vendors
   5/29/2020                                   (8,778.00)
 FERGUSON FORESTRY SOLUTIONS                   (8,717.98)            Suppliers or Vendors
   5/8/2020                                    (4,238.44)
   5/29/2020                                   (3,431.66)
   6/9/2020                                    (1,047.88)
 GRAYMONT WESTERN US INC                       (8,365.50)            Suppliers or Vendors
   5/29/2020                                   (8,365.50)
 RED ROSE CARPET CLEANING                      (8,000.00)            Services (Janitorial)
   5/8/2020                                    (4,000.00)
   5/29/2020                                   (4,000.00)
 CH MURPHY/CLARK ULLMAN INC                    (7,987.09)            Services
   6/17/2020                                   (7,987.09)
 COMPLETE FOREST                               (7,821.44)            Suppliers or Vendors
   5/8/2020                                    (3,130.59)
   5/29/2020                                   (3,768.05)
   6/9/2020                                      (922.80)
 K & N ELECTRIC                                (7,446.74)            Services
   5/1/2020                                      (281.28)
   5/29/2020                                   (1,080.00)
   6/11/2020                                   (6,085.46)
 INLAND PIPE & SUPPLY                          (7,388.34)            Services
   6/11/2020                                   (7,388.34)
 FAST WAY FREIGHT MANAGEMENT, L                (7,357.27)            Services
   5/4/2020                                    (1,256.55)
   5/8/2020                                    (2,368.50)
   5/29/2020                                   (1,611.68)
   6/4/2020                                      (438.59)
   6/9/2020                                    (1,681.95)
 INGREDION INCORPORATED                        (7,155.00)            Services
   5/4/2020                                    (7,155.00)
   6/2/2020                                          0.00
 TIMBER SOLUTIONS LLC                          (6,843.62)            Services
   5/29/2020                                   (6,843.62)
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 MCLANE LAW                                    (6,555.00)            Services
   6/25/2020                                   (6,555.00)
 KADANT SOLUTIONS LOCKBOX                      (6,437.34)            Services
   4/28/2020                                   (3,836.38)
   5/29/2020                                   (2,600.96)
 HCL TECHNOLOGIES LIMITED                      (6,375.30)            Services
   5/1/2020                                    (6,375.30)
 PEARSON LOGGING, LLC                          (6,369.56)            Suppliers or Vendors
   5/29/2020                                   (6,369.56)
 ALDATA SOFTWARE MANAGEMENT                    (6,343.75)            Services
   5/29/2020                                   (6,343.75)
 BRENNTAG PACIFIC INC                          (6,219.40)            Suppliers or Vendors
   5/4/2020                                    (6,219.40)
 KNIGHT CONSTRUCTION & SUPPLY                  (6,180.25)
   5/29/2020                                   (6,180.25)
 CRAIG A. RIPPLINGER                           (6,090.00)
   5/4/2020                                    (2,700.00)
   6/9/2020                                    (3,390.00)
 SOUND SEAL & PACKING CO                       (6,039.39)
   5/29/2020                                   (6,039.39)
 ABRAM LOGGING, INC.                           (5,967.54)
   5/29/2020                                   (5,967.54)
 NEWPORT EQUIPMENT ENTERPRISES                 (5,964.60)
   4/28/2020                                   (5,964.60)
 GRAHAM BUSINESS VENTURES                      (5,866.99)
   5/8/2020                                    (1,691.83)
   5/29/2020                                   (1,828.71)
   6/9/2020                                    (2,346.45)
 EXCESS DISPOSAL SERVICE INC                   (5,746.92)
   5/29/2020                                   (5,746.92)
 BAILEY LOGGING                                (5,619.38)
   5/8/2020                                    (2,000.39)
   5/29/2020                                   (2,099.67)
   6/9/2020                                    (1,519.32)
 FAST WAY INC                                  (5,615.36)
   5/29/2020                                   (3,015.36)
   6/9/2020                                    (2,600.00)
 WESTERN TRANSPORT, LLC.                       (5,534.97)
   6/4/2020                                    (2,227.68)
   6/9/2020                                    (3,307.29)
 ALASKA MARINE LINES                           (5,350.31)

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ATTACHMENT STATEMENT OF FINANCIAL AFFAIRS QUESTION 3


   6/9/2020                                     (5,350.31)
 ROSS MACARTHUR                                 (5,237.46)
   4/28/2020                                    (2,813.76)
   5/29/2020                                    (1,566.30)
   6/9/2020                                       (857.40)
 LARRY F. JOHNSON                               (5,213.20)
   5/8/2020                                     (5,213.20)
 VALMET INC.                                    (5,066.60)
   5/29/2020                                      (305.60)
   6/17/2020                                    (4,761.00)
 DAWSON TRUCKING, INC.                          (4,922.28)
   5/8/2020                                     (2,118.06)
   5/29/2020                                    (2,223.18)
   6/9/2020                                       (581.04)
 STANTON MCDANIEL                               (4,791.68)
   5/8/2020                                     (1,851.52)
   5/29/2020                                    (2,940.16)
 Cox Rebate                                     (4,791.13)
   5/2/2020                                     (4,791.13)
 COEUR D'ALENES CO                              (4,564.80)
   5/29/2020                                    (2,434.62)
   6/2/2020                                       (433.24)
   6/11/2020                                    (1,696.94)
 NORTH COAST ELECTRIC CO                        (4,497.27)
   5/1/2020                                       (566.44)
   5/4/2020                                       (850.74)
   5/29/2020                                    (1,794.15)
   6/9/2020                                     (1,285.94)
 BNSF RAILWAY CO                                (4,400.08)
   5/8/2020                                     (2,085.79)
   6/2/2020                                     (1,358.38)
   6/9/2020                                       (955.91)
 SHANE CAMPBELL TRUCKING                        (4,367.86)
   4/28/2020                                    (1,432.20)
   6/4/2020                                     (2,589.30)
   6/9/2020                                       (346.36)
 DCT CHAMBERS TRUCKING LTD                      (4,366.57)
   5/8/2020                                     (4,051.45)
   6/9/2020                                       (315.12)
 TRINOOR LLC                                    (4,348.87)
   5/29/2020                                    (4,348.87)
 H&E EQUIPMENT SERVICES                         (4,172.08)
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ATTACHMENT STATEMENT OF FINANCIAL AFFAIRS QUESTION 3


   5/6/2020                                     (4,105.00)
   6/9/2020                                        (67.08)
 STIMSON LUMBER CO ‐ ST. MARIES                 (4,112.55)
   5/29/2020                                    (1,934.40)
   6/9/2020                                     (2,178.15)
 VIGILANT SERVICES INC                          (4,000.00)
   5/1/2020                                     (2,000.00)
   5/29/2020                                    (2,000.00)
 MENDENHALL TIMBER INC                          (3,925.98)
   5/29/2020                                    (3,925.98)
 BSP WAREHOUSING & DISTRIBUTION                 (3,821.64)
   4/28/2020                                    (1,321.64)
   5/8/2020                                     (2,500.00)
 KERSHAW'S INC.                                 (3,790.40)
   5/1/2020                                        (57.81)
   5/29/2020                                    (2,650.15)
   6/9/2020                                     (1,082.44)
 WISE LOGGING LLC                               (3,580.64)
   5/29/2020                                    (1,920.23)
   6/9/2020                                     (1,660.41)
 KAMAN INDUSTRIAL TECHNOLOGIES                  (3,569.63)
   5/29/2020                                    (2,848.68)
   6/9/2020                                       (720.95)
 HTXI CUTCO INC.                                (3,539.64)
   5/29/2020                                    (1,787.76)
   6/9/2020                                     (1,751.88)
 SKF USA INC                                    (3,500.00)
   6/9/2020                                     (3,500.00)
 ROGER & LYDIA GRIESEMER                        (3,480.88)
   5/8/2020                                     (3,480.88)
 RAM TRUCKING                                   (3,462.50)
   5/22/2020                                    (3,462.50)
 AUSTIN KROGH                                   (3,346.97)
   5/8/2020                                     (2,412.05)
   6/9/2020                                       (934.92)
 JUSTIN R.WISE                                  (3,209.40)
   5/8/2020                                     (3,209.40)
 ROSEMOUNT INC.                                 (3,130.89)
   5/29/2020                                    (3,130.89)
 SAFETY‐KLEEN CORP                              (3,027.72)
   5/8/2020                                     (3,027.72)

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ATTACHMENT STATEMENT OF FINANCIAL AFFAIRS QUESTION 3


 GEMSTATE PARTNERS                               (3,000.00)
   5/29/2020                                     (3,000.00)
 HACH CO                                         (2,996.87)
   5/29/2020                                       (307.51)
   6/9/2020                                      (2,689.36)
 PEND OREILLE TELEPHONE CO                       (2,982.57)
   5/29/2020                                     (1,988.38)
   6/9/2020                                        (994.19)
 IDAHO DEPT OF LANDS                             (2,971.35)
   5/8/2020                                        (679.37)
   5/29/2020                                     (1,215.67)
   6/9/2020                                      (1,076.31)
 EVAN HANEY                                      (2,914.48)
   5/29/2020                                     (1,428.85)
   6/9/2020                                      (1,485.63)
 LAW OFFICES OF DAVID MEADOWS                    (2,860.00)
   6/11/2020                                     (2,860.00)
 CONSTELLATION HOMEBUILDER SYST                  (2,858.68)
   6/1/2020                                       17,240.00
   6/11/2020                                          (0.04)
   6/26/2020                                    (20,098.64)
 COLUMBIA ELECTRIC SUPPLY CO                     (2,850.32)
   5/29/2020                                       (172.32)
   6/11/2020                                     (2,678.00)
 KIP KREAGER                                     (2,784.00)
   5/6/2020                                      (2,784.00)
 METROPOLITAN LIFE INSURANCE CO                  (2,763.11)
   5/1/2020                                      (1,418.29)
   5/29/2020                                     (1,344.82)
 UNITED PARCEL SERVICE                           (2,750.00)
   5/29/2020                                     (1,700.00)
   6/9/2020                                      (1,050.00)
 BC MACHINERY INC.                               (2,728.93)
   5/29/2020                                       (663.00)
   6/9/2020                                      (2,065.93)
 TACOMA SCREW PRODUCTS, INC.                     (2,658.87)
   5/4/2020                                        (196.52)
   5/8/2020                                        (213.98)
   5/29/2020                                     (1,928.62)
   6/9/2020                                        (319.75)
 FINE LINE                                       (2,649.82)
   5/1/2020                                        (485.98)
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   5/29/2020                                    (2,163.84)
 PARKSIDE PROPERTIES & FINANCE                  (2,648.43)
   5/29/2020                                    (2,099.67)
   6/9/2020                                       (548.76)
 RC POWERS, KLH LLC.                            (2,548.78)
   5/29/2020                                    (1,209.79)
   6/9/2020                                     (1,338.99)
 IDAHO STATE TAX COMMISSION                     (2,451.49)
   5/4/2020                                     (2,451.49)
 OCCUPATIONAL HEALTH SOLUTIONS,                 (2,430.00)
   5/6/2020                                     (1,215.00)
   6/9/2020                                     (1,215.00)
 AKRE LOGGING                                   (2,281.79)
   5/29/2020                                    (1,137.72)
   6/9/2020                                     (1,144.07)
 WEBECO LLC                                     (2,200.61)
   5/8/2020                                     (2,200.61)
 HARVEY MAY LOGGING                             (2,089.27)
   5/29/2020                                    (2,089.27)
 WILLAM L. PETERSON                             (2,000.39)
   5/8/2020                                     (2,000.39)
 KIWICO LLC                                     (1,984.05)
   6/9/2020                                     (1,984.05)
 BALDWIN INTERNATIONAL                          (1,866.24)
   5/29/2020                                    (1,866.24)
 TRANE U.S. INC.                                (1,806.34)
   5/29/2020                                    (1,806.34)
 ELJAY OIL CO INC                               (1,738.46)
   6/9/2020                                     (1,738.46)
 CINTAS CORP #606                               (1,631.16)
   5/1/2020                                       (171.54)
   5/8/2020                                       (428.36)
   5/29/2020                                      (428.36)
   6/9/2020                                       (602.90)
 RAMON G. SAMS                                  (1,576.12)
   6/9/2020                                     (1,576.12)
 AT&T                                           (1,407.20)
   5/29/2020                                      (875.94)
   6/9/2020                                       (531.26)
 BIG BUCKS TIMBERWORKS                          (1,382.61)
   5/29/2020                                    (1,382.61)

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 AMWINS GROUP BENEFITS, INC.                    (1,371.96)
   5/29/2020                                    (1,371.96)
 VENEER CHIP TRANSPORT, INC.                    (1,300.00)
   5/8/2020                                     (1,300.00)
 INLAND FOREST MANAGEMENT INC                   (1,276.36)
   5/8/2020                                       (201.77)
   5/29/2020                                      (796.02)
   6/9/2020                                       (278.57)
 CRS DATA SOLUTIONS                             (1,226.41)
   5/22/2020                                      (564.35)
   5/29/2020                                      (662.06)
 ARBON EQUIPMENT CORPORATION                    (1,220.18)
   5/29/2020                                    (1,220.18)
 FORESTED HABITATS, LLC                         (1,147.20)
   6/9/2020                                     (1,147.20)
 PONDERAY EMPLOYEE ASSOCIATION                  (1,136.00)
   5/1/2020                                       (149.50)
   5/6/2020                                       (279.00)
   5/29/2020                                      (279.00)
   6/2/2020                                       (428.50)
 TRAVIS J. KIEBERT                              (1,120.33)
   5/29/2020                                    (1,120.33)
 BECHERINI SCALE CENTER INC                     (1,111.99)
   5/29/2020                                    (1,111.99)
 DS SERVICES OF AMERICA, INC.                   (1,067.81)
   5/29/2020                                    (1,067.81)
 DICK E BRADETICH                               (1,046.08)
   6/9/2020                                     (1,046.08)
 SNAP‐ON TOOLS                                  (1,040.44)
   5/8/2020                                       (485.49)
   5/29/2020                                      (554.95)
 B & E ENTERPRISES                              (1,010.00)
   5/6/2020                                       (505.00)
   6/4/2020                                       (505.00)
 JOE HESTER                                     (1,001.92)
   6/9/2020                                     (1,001.92)
 NCASI                                          (1,000.00)
   5/8/2020                                     (1,000.00)
 WATSON‐MARLOW INC                                (970.76)
   5/29/2020                                      (970.76)
 WITHERSPOON KELLEY DAVENPORT &                   (966.00)

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   6/9/2020                                       (966.00)
 EDGE CONSTRUCTION SUPPLY                         (920.70)
   6/9/2020                                       (920.70)
 LHT LLC                                          (916.04)
   5/29/2020                                      (916.04)
 R&L ENTERPRISES                                  (862.41)
   6/9/2020                                       (862.41)
 CLAUD GROVE TRUCKING                             (857.08)
   5/29/2020                                      (857.08)
 KC LOGGING, INC                                  (842.56)
   5/8/2020                                       (842.56)
 SHAWN BUTLER LOGGING                             (820.80)
   5/8/2020                                       (820.80)
 UNION PACIFIC RAILROAD                           (820.80)
   4/28/2020                                      (600.00)
   5/1/2020                                       (220.80)
 CHITWOOD ENTERPRISES                             (777.41)
   5/29/2020                                      (777.41)
 JMF INC                                          (772.03)
   5/29/2020                                      (363.14)
   6/9/2020                                       (408.89)
 LAGERS ET&M                                      (750.00)
   6/11/2020                                      (750.00)
 SPOKANE PUMP INC                                 (730.93)
   5/8/2020                                       (730.93)
 FEDEX                                            (729.37)
   5/29/2020                                      (729.37)
 AIRSAN CORP                                      (726.00)
   5/8/2020                                       (726.00)
 PACWEST MACHINERY LLC                            (723.92)
   6/9/2020                                       (723.92)
 KAZ LOGGING INC.                                 (695.52)
   6/9/2020                                       (695.52)
 FORESIGHT FORESTRY                               (673.92)
   5/29/2020                                      (673.92)
 DALE HIEBERT                                     (636.60)
   6/9/2020                                       (636.60)
 BTG AMERICAS INC                                 (630.70)
   5/29/2020                                      (630.70)
 UNITED CONVEYOR CORP                             (629.09)
   5/29/2020                                      (629.09)

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ATTACHMENT STATEMENT OF FINANCIAL AFFAIRS QUESTION 3


 LEBLOND, LTD                                    (596.03)
   6/9/2020                                      (596.03)
 JAMES ROSS LIMITED                              (590.23)
   5/29/2020                                     (590.23)
 MACPHERSON INVESTMENT GROUP LL                  (590.08)
   5/8/2020                                      (590.08)
 DELTA INDUSTRIES INC                            (546.83)
   5/29/2020                                     (546.83)
 MEGGER                                          (466.00)
   6/9/2020                                      (466.00)
 DHL GLOBAL FORWARDING (CANADA)                  (462.47)
   4/28/2020                                     (462.47)
 BECKWITH & KUFFEL                               (441.42)
   5/29/2020                                     (441.42)
 DAVID DON CROSSLEY                              (440.40)
   5/29/2020                                     (440.40)
 NORDSON CORP                                    (440.08)
   5/6/2020                                      (440.08)
 V ALEXANDER INT'L LOGISTICS GM                  (424.20)
   5/29/2020                                     (424.20)
 PLATTCO CORPORATION                             (411.40)
   5/8/2020                                      (411.40)
 SHERWIN WILLIAMS PAINT CO                       (392.57)
   5/4/2020                                      (137.66)
   6/17/2020                                     (254.91)
 GRAYWOLF TIMBERS LLC                            (377.73)
   5/29/2020                                     (102.67)
   6/9/2020                                      (275.06)
 MCMASTER‐CARR                                   (377.61)
   5/6/2020                                       (44.19)
   6/9/2020                                      (333.42)
 CLYDE INDUSTRIES INC                            (359.23)
   6/9/2020                                      (359.23)
 VWR INTERNATIONAL INC                           (355.83)
   6/9/2020                                      (355.83)
 AAPEX CONSTRUCTION INC                          (345.00)
   5/29/2020                                     (345.00)
 INSIGHT DIRECT USA INC.                         (333.28)
   5/6/2020                                      (333.28)
 CAROTHERS & SON LTD                             (326.34)
   5/29/2020                                     (326.34)

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ATTACHMENT STATEMENT OF FINANCIAL AFFAIRS QUESTION 3


 ENVIRONMENTAL RESOURCE ASSOCIA                  (298.30)
    5/29/2020                                    (298.30)
 RANDOLPH MICHAEL STUART                         (294.00)
    5/29/2020                                    (294.00)
 ENVIRONMENTAL MONITOR SERVICE                   (284.30)
    5/29/2020                                    (284.30)
 FERGUSON ENTERPRISES INC                        (275.80)
    5/8/2020                                     (275.80)
 PURCHASE POWER                                  (264.56)
    5/29/2020                                    (264.56)
 FIELD INSTRUMENTS & CONTROLS I                  (264.31)
    6/11/2020                                    (264.31)
 FPRS payment 05/12                              (241.01)
    5/12/2020                                    (241.01)
 GLI INTERNATIONAL ‐ HACH CO                     (203.25)
    5/29/2020                                    (203.25)
 NEWPORT VISION SOURCE PS                        (200.00)
    5/6/2020                                     (200.00)
 NORTHSTAR CLEAN CONCEPTS                        (190.07)
    6/9/2020                                     (190.07)
 WESTSIDE PIZZA                                  (188.07)
    5/29/2020                                    (188.07)
 PREMIER PARTY RENTALS                           (187.00)
    5/29/2020                                    (187.00)
 ALLIED AUTO ELECTRIC                            (185.50)
    5/29/2020                                    (185.50)
 ROTH LOGGING                                    (175.63)
    5/29/2020                                    (175.63)
 WALJO SHEARD LLC                                (167.85)
    5/8/2020                                     (167.85)
 NEWPORT MINER                                   (164.26)
    5/6/2020                                     (164.26)
 HUCKLEBERRY HOMEOWNERS ASSOCIA                  (163.90)
    5/29/2020                                     (39.82)
    6/9/2020                                     (124.08)
 PARAMOUNT SUPPLY CO                             (139.77)
    5/29/2020                                    (139.77)
 H&H EXPRESS                                     (132.01)
    5/1/2020                                     (103.26)
    5/22/2020                                     (28.75)
 REXUS CORP                                      (119.00)

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   6/11/2020                                     (119.00)
 MIKAH ENTERPRISE TRUST                          (114.46)
   5/29/2020                                     (114.46)
 WESTERN STATES EQUIPMENT CO                     (107.07)
   5/4/2020                                      (107.07)
 ARNETT INDUSTRIES, LLC                          (105.75)
   5/29/2020                                     (105.75)
 NORLIFT INC                                     (105.60)
   5/29/2020                                     (105.60)
 DEPARTMENT OF LICENSING                         (105.50)
   5/8/2020                                      (105.50)
 WILSON LOGISTICS, INC                            (99.00)
   5/29/2020                                      (99.00)
 ELMER BROTHERS                                   (70.04)
   5/29/2020                                      (70.04)
 TOTAL FILTRATION SERVICES, INC                   (61.11)
   5/29/2020                                      (61.11)
 DENNIS K URBAT                                   (30.33)
   6/9/2020                                       (30.33)
 ACTION AUTO SUPPLY INC                           (30.11)
   5/29/2020                                       (7.91)
   6/9/2020                                       (22.20)
 MOTION INDUSTRIES INC                            (27.68)
   5/29/2020                                      (27.68)
 USI INCORPORATED                                 (21.41)
   5/29/2020                                      (21.41)
 STERICYCLE INC                                   (10.36)
Debtor paid employee compensation in the amount of $4,292,297.49 and severance in
the amount of $3,880,507.25. Detailed payments will be provided to Trustee upon
request.




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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Eastern District of Washington
 In re       Ponderay Newsprint Company                                                                        Case No.     20-01309
                                                                                  Debtor(s)                    Chapter      7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
              For legal services, I have agreed to accept                                                  $                60,000.00
              Prior to the filing of this statement I have received                                        $                60,000.00
              Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                 Debtor            Other (specify):

3.     The source of compensation to be paid to me is:

                 Debtor            Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.    [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtor in any actions, contested matters, or adversary proceedings, including but not
               limited to relief from stay actions or avoidance actions.
                                                                            CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 29, 2020                                                                /s/ Armand J. Kornfeld
     Date                                                                         Armand J. Kornfeld
                                                                                  Signature of Attorney
                                                                                  Bush Kornfeld LLP
                                                                                  601 Union St., Suite 5000
                                                                                  Seattle, WA 98101-2373
                                                                                  (206) 292-2110 Fax: (206) 292-2104
                                                                                  jkornfeld@bskd.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                     Eastern District of Washington
 In re      Ponderay Newsprint Company                                                                    Case No.   20-01309
                                                                                    Debtor(s)             Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the partnership named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       June 29, 2020                                               /s/ Myron L. Johnson
                                                                         Myron L. Johnson/President
                                                                         Signer/Title




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